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                                                 Exhibit A
                       DISUPUTED CONSTRUCTIONS AND EVIDENCE IDENTIFIED UNDER LOCAL
                                        PATENT RULES 4.2(b) AND 4.2(c)

No.   Term                  Plaintiffs’ Construction   Defendants’                Teva’s Evidence              Defendants’ Evidence
                                                       Construction
1     “actuation member” Plain and ordinary            “pin arranged to engage    U.S. Patent Nos. 9,463,289   Patents-in-Suit
                          meaning in view of the       with a medicament          • ’289 patent, claims 1, 3   generally, including but
      ’289 Patent, claims claims, specification, and   canister and effect        • ’289 patent, 4:46-65       not limited to:
      1, 3                prosecution history.         movement causing the       • ’289 patent, 5:14-21       • ’289 patent, claims 1,
                                                       dose counter to record a   • ’289 patent, 5:26-34          3
      ’587 Patent, claims   “a component of the dose   count”                     • ’289 patent, 5:39-46       • ’289 patent, 4:46-65
      1, 3, 11, 12, 13      counter’s actuator that                               • ’289 patent, 6:24-33       • ’289 patent, 5:14-21
      ’156 patent, claims   transmits motion from                                 • ’289 patent, 6:34-43       • ’289 patent, 5:26-34
      12                    the canister to the                                                                • ’289 patent, 5:39-46
                                                                                  • ’289 patent, 6:44-49
                            actuator”                                                                          • ’289 patent, 6:24-33
                                                                                  • ’289 patent, 6:50-58
                                                                                  • ’289 patent, 6:59-63       • ’289 patent, 6:34-43
                                                                                  • ’289 patent, 7:20-25       • ’289 patent, 6:44-49
                                                                                  • ’289 patent, 9:22-34       • ’289 patent, 6:50-58
                                                                                  • ’289 patent, 10:47-58      • ’289 patent, 6:59-63
                                                                                  • ’289 patent, 11:4-12:8     • ’289 patent, 7:20-30
                                                                                  • ’289 patent, 12:17-23      • ’289 patent, 9:22-34
                                                                                  • ’289 patent, 12:54-64      • ’289 patent, 10:47-58
                                                                                  • ’289 patent, 12:39-13:2    • ’289 patent, 11:4-12:8
                                                                                  • ’289 patent, 13:10-22      • ’289 patent, 12:17-23
                                                                                  • ’289 patent, 13:40-        • ’289 patent, 12:54-64
                                                                                     14:13                     • ’289 patent, 12:38-
                                                                                  • ’289 patent, 14:40-47         13:2
                                                                                  • ’289 patent, 15:42-53      • ’289 patent, 13:10-22
                                                                                  • ’289 patent, 16:9-13       • ’289 patent, 13:40-
                                                                                                                  14:13



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                                                    • ’289 patent, Figs. 4A,   •   ’289 patent, 14:40-
                                                      6A-6H, 7A-7D, 8A-8D,         15:32
                                                      10A-10E                  •   ’289 patent, 15:42-53
                                                                               •   ’289 patent, 16:9-14
                                                   U.S. Patent No. 9,808,587 •     ’289 patent, Figs. 4A,
                                                   • ’587 patent, claims 1, 3,     6A-6H, 7A-7D, 8A-
                                                      11, 12, 13                   8D, 10A-10E
                                                   • ’587 patent, Abstract     •   ’587 patent, claims 1,
                                                   • ’587 patent, 4:51-5:3         3, 11, 12, 13
                                                   • ’587 patent, 5:19-26      •   ’587 patent, Abstract
                                                   • ’587 patent, 5:31-39      •    ’587 patent, 4:51-5:3
                                                   • ’587 patent, 5:44-51      •    ’587 patent, 5:19-26
                                                   • ’587 patent, 6:28-37      •    ’587 patent, 5:31-39
                                                   • ’587 patent, 6:38-47      •    ’587 patent, 5:44-51
                                                   • ’587 patent, 6:48-53      •   ’587 patent, 6:28-37
                                                   • ’587 patent, 6:54-62      •   ’587 patent, 6:38-47
                                                   • ’587 patent, 6:63-67      •   ’587 patent, 6:48-53
                                                   • ’587 patent, 7:24-29      •   ’587 patent, 6:54-62
                                                   • ’587 patent, 9:25-37      •   ’587 patent, 6:63-67
                                                   • ’587 patent, 10:48-58     •   ’587 patent, 7:24-29
                                                   • ’587 patent, 12:19-25     •   ’587 patent, 9:25-37
                                                   • ’587 patent, 12:56-66     •   ’587 patent, 10:48-58
                                                   • ’587 patent, 12:40-13:4 •     ’587 patent, 12:19-25
                                                   • ’587 patent, 13:12-24     •   ’587 patent, 12:56-66
                                                   • ’587 patent, 14:42-49     •   ’587 patent, 12:40-
                                                   • ’587 patent, 15:43-54         13:4
                                                   • ’587 patent, 16:10-14     •   ’587 patent, 13:12-24
                                                   • ’587 patent, Figs. 4A,    •   ’587 patent, 14:42-49
                                                      6A-6H, 7A-7D, 8A-8D, •       ’587 patent, 15:43-54
                                                      10A-10E                  •   ’587 patent, 16:10-14




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                                                    U.S. Application No.          •   ’587 patent, Figs. 4A,
                                                    13/110,532                        6A-6H, 7A-7D, 8A-
                                                    • Original claims (May            8D, 10A-10E
                                                       18, 2011)                  •   ’156 patent, claims 1,
                                                    • ’532 application, office        11, 12
                                                       action (June 28, 2013)     •   ’156 patent, 4:46-65
                                                    • ’532 application,           •   ’156 patent, 5:14-21
                                                       amendment and              •   ’156 patent, 5:26-34
                                                       response (Sept. 26,        •   ’156 patent, 5:39-46
                                                       2013)                      •   ’156 patent, 6:24-33
                                                                                  •   ’156 patent, 6:34-43
                                                    U.S. Application No.          •   ’156 patent, 6:50-58
                                                    14/103,324                    •   ’156 patent, 6:59-63
                                                    • ’324 application,           •   ’156 patent, 7:20-25
                                                       original claims (Dec.
                                                                                  •   ’156 patent, 9:22-34
                                                       11, 2013)
                                                                                  •   ’156 patent, 10:47-58
                                                    • ’324 application, office
                                                       action (Aug. 10, 2015)     •   ’156 patent, 11:4-
                                                                                      12:10
                                                    • ’324 application,
                                                                                  •   ’156 patent, 12:19-25
                                                       amended claims and
                                                       response (Nov. 4, 2015)    •   ’156 patent, 12:56-66
                                                    • ’324 application, final     •   ’156 patent, 12:40-
                                                       rejection (Dec. 7, 2015)       13:4
                                                    • ’324 application,           •   ’156 patent, 13:12-24
                                                       amended claims and         •   ’156 patent, 13:42-
                                                       response, 1-7 (Mar. 7,         14:15
                                                       2016)                      •   ’156 patent, 14:42-49
                                                    • ’324 application, notice    •   ’156 patent, 15:43-54
                                                       of allowability, 2-3       •   ’156 patent, 16:10-14
                                                       (May 20, 2016)             •   ’156 patent, Figs. 4A,
                                                                                      6A-6H, 7A-7D, 8A-
                                                    U.S. Application No.              8D, 10A-10E
                                                    14/699,567


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                                                    •   ’567 application,       U.S. Application No.
                                                                                13/110,532 generally,
                                                        original claims 1, 10, 11
                                                    •   ’567 application, officeincluding but not
                                                        action 5-6 (June 17,    limited to:
                                                        2016)                   • Original claims (May
                                                    •   ’567 application, office    18, 2011)
                                                                                • ’532 application,
                                                        action 2-3, 5-6 (Oct. 20,
                                                        2016)                       office action (June 28,
                                                    •   ’567 application, office    2013)
                                                        action 8 (May 22, 2017) • ’532 application,
                                                                                    amendment and
                                                    See also evidence for           response (September
                                                     “actuation member” for the     26, 2013)
                                                     ’156 patent                • ’532 application,
                                                                                    original claim 3
                                                    Additional Evidence
                                                    Identified Pursuant to L.   U.S. Application No.
                                                    Pat. R. 4.2(c)              14/103,324 generally,
                                                    Intrinsic Evidence          including but not
                                                    • Evidence cited or relied  limited to:
                                                       upon by Defendants,      • ’324 application,
                                                       including the materials      original claims
                                                       cited in Defendants’ May     (December 11, 2013)
                                                       21, 2021 and June 4,     • ’324 application,
                                                       2021 identifications of      office action (August
                                                       constructions and            10, 2015)
                                                       evidence pursuant to L.  • ’324 application,
                                                       Pat. R. 4.2(a)-(c).          amended claims and
                                                                                    response (November
                                                    Extrinsic Evidence              4, 2015)
                                                    • Evidence cited or relied  • ’324 application, final
                                                       upon by Defendants,          rejection (December
                                                       including the materials      7, 2015)


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                                                      cited in Defendants’ May     •    ’324 application,
                                                      21, 2021 and June 4,             amended claims and
                                                      2021 identifications of          response, 1-7 (March
                                                      constructions and                7, 2016)
                                                      evidence pursuant to L.      •   ’324 application,
                                                      Pat. R. 4.2(a)-(c).              notice of allowability
                                                    • Cipla’s and Aurobindo’s      •   ’324 application,
                                                      Non-Infringement                 original claims 1-3
                                                      Contentions, including       •   ’324 application,
                                                      exhibits and materials           office action 2-5
                                                      cited.                           (Aug. 10, 2015)
                                                    • Cipla’s and Aurobindo’s      •   ’324 application,
                                                      Invalidity Contentions,          amended claims 1, 3
                                                      including exhibits and           (Nov. 4, 2015)
                                                      materials cited.             •    ’324 application,
                                                    • Cipla’s and Aurobindo’s          office action 2-5
                                                      Notice Letters.                  (Dec. 7, 2015)
                                                    • Cipla’s and                  •    ’324 application,
                                                       Aurobindo’s                     amended claims 1, 3
                                                       Interrogatory                   (Mar. 7, 2016)
                                                       Responses, including        •    ’324 application,
                                                       Cipla’s and                     response 3-7 (Mar. 7,
                                                       Aurobindo’s                     2016)
                                                       Responses to                •    ’324 application,
                                                       Interrogatory Nos. 1-5.         notice of allowability
                                                    • Expert opinions and/or           2-3 (May 20, 2016)
                                                       testimony regarding
                                                       how a person of             U.S. Application No.
                                                       ordinary skill in the art   14/699,567 generally,
                                                       would understand the        including but not
                                                       meaning of this term        limited to:
                                                       based on the disclosures



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                                                        in the patent                •   ’567 application,
                                                        specification,                   original claims 1, 10,
                                                        other intrinsic evidence,        11
                                                        and the parties’ extrinsic   •   ’567 application,
                                                        evidence.                        office action 5-6
                                                    •   New Oxford American              (June 17, 2016)
                                                        Dictionary 1091 (3rd         •   ’567 application,
                                                        ed. 2010)                        office action 2-3, 5-6
                                                    •   Webster’s Third New              (Oct. 20, 2016)
                                                        International Dictionary     •   ’567 application,
                                                        of the English Language          office action 8 (May
                                                        Unabridged 1408                  22, 2017)
                                                        (2002)
                                                    •   The American Heritage        Extrinsic Evidence:
                                                        Dictionary of the            • Dictionary of
                                                        English Language 1097           Mechanical
                                                        (5th ed. 2018)                  Engineering, 4th
                                                    •   The Merriam-Webster             Edition, G.H.F.
                                                        Dictionary 306 (New ed       • Nayler, George
                                                        2005)                           Newnes Ltd, 1996
                                                    •   Random House                    (“actuator”) at 3.
                                                        Webster’s Unabridged         • New Oxford
                                                        Dictionary 1198-99              American Dictionary,
                                                        (2nd ed. 2001)                  3rd Edition,
                                                    •   The American Heritage           Stevenson and
                                                        Dictionary of the               Lindeberg, Oxford
                                                        English Language 18             University Press, Inc.,
                                                        (5th ed. 2018)                  2010 (“actuate’) at
                                                    •   Webster’s II, New               16.
                                                        College Dictionary 12        • Plaintiffs’ Responses
                                                        (2nd ed. 1995)                  to Invalidity
                                                                                        Contentions.



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                                                                               •   Merriam-Webster’s        •   Plaintiffs’ Disclosure
                                                                                   Collegiate Dictionary        of Asserted Claims
                                                                                   13 (11th ed 2003)            and Infringement
                                                                               •   New Oxford American          Contentions.
                                                                                   Dictionary 16 (3rd ed.   •   Expert opinions
                                                                                   2010)                        and/or testimony from
                                                                               •   Webster’s Third New          Gregor Anderson
                                                                                   International Dictionary     regarding how a
                                                                                   of the English Language      person of ordinary
                                                                                   Unabridged 22 (2002)         skill in the art would
                                                                               •   Dictionary of                understand the
                                                                                   Mechanical Engineering       meaning of this term
                                                                                   246 (4th ed. 1996).          in view of the
                                                                                                                specification,
                                                                               See also rebuttal evidence       prosecution history,
                                                                               for “actuation member” for       intrinsic record, and
                                                                               the ’156 patent.                 the parties’ extrinsic
                                                                                                                evidence
2   “[lying or lie] in a   Plain and ordinary        “aligned in a single plane U.S. Patent Nos. 9,463,289   Patents-in-Suit
    common plane           meaning in view of the    such that a straight line   • ’289 patent, claim 1      generally, including but
    coincident with the    claims, specification, andcan be drawn though the     • ’289 patent, 6:50-63      not limited to:
    longitudinal axis      prosecution history.      center of the central       • ’289 patent, 11:4-12:8    • ’289 patent, claim 1
    X”                                               outlet port, a canister     • ’289 patent, 15:33-53     • ’289 patent, 6:50-63
                         Features lie on a common support formation located • ’289 patent, Figs. 7A-         • ’289 patent, 11:4-12:8
    ’289 Patent, claim 1 plane coincident with the directly adjacent to the         D                        • ’289 patent, 15:33-53
    ’587 Patent, claims longitudinal axis X if it is actuation member, and                                   • ’289 patent, Figs. 7A-
    1, 12, 21, 22        possible to draw a          the actuation member”      U.S. Patent No. 9,808,587       D
                         straight line connecting                               • ’587 patent, claims 1,     • ’587 patent, claims 1,
                         those features that passes                                11, 12, 21, 22               11, 12, 21, 22
                         through the center of the                              • ’587 patent, Abstract      • ’587 patent, Abstract
                         stem block.
                                                                                • ’587 patent, 6:54-6:67     • ’587 patent, 6:54-6:67
                                                                                • ’587 patent, 15:34-54      • ’587 patent, 15:34-54
                                                                                • ’587 patent, Figs. 7A-D


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                                                                                 • ’587 patent, Figs. 7A-
                                                    U.S. Application No.           D
                                                    13/110,532
                                                    • ’532 application,          U.S. Application No.
                                                       Original claims (May      13/110,532 generally,
                                                       18, 2011)                 including but not
                                                    • ’532 application, office   limited to:
                                                       action (June 28, 2013)    • ’532 application,
                                                    • ’532 application,              Original claims (May
                                                       amendment and                 18, 2011)
                                                       response (Sept. 26,       • ’532 application,
                                                       2013)                         office action (June
                                                                                     28, 2013)
                                                    U.S. Application No.         • ’532 application,
                                                    14/103,324                       amendment and
                                                                                     response (September
                                                    •  ’324 application,             26, 2013)
                                                       original claims (Dec.
                                                       11, 2013)                 U.S. Application No.
                                                    • ’324 application, office   14/103,324 generally,
                                                       action (Aug. 10, 2015)    including but not
                                                    • ’324 application,          limited to:
                                                       amendment and             • ’324 application,
                                                       response (Nov. 4, 2015)       original claims
                                                    • ’324 application, final        (December 11, 2013)
                                                      rejection (Dec. 7, 2015)   • ’324 application,
                                                    • ’324 application,              office action (August
                                                      amendment and                  10, 2015)
                                                      response, 1-7 (Mar. 7,     • ’324 application,
                                                      2016)                          amendment and
                                                    • ’324 application, notice       response (November
                                                      of allowance/                  4, 2015)



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                                                      allowability, 2-3 (May     • ’324 application, final
                                                      20, 2016)                    rejection (December
                                                                                   7, 2015)
                                                    Additional Evidence          • ’324 application,
                                                    Identified Pursuant to L.      amendment and
                                                    Pat. R. 4.2(c)                 response, 1-7 (March
                                                                                   7, 2016)
                                                    Intrinsic Evidence           • ’324 application,
                                                    Evidence cited or relied       notice of allowance/
                                                    upon by Defendants,            allowability, 2-3
                                                    including the materials        (May 20, 2016)
                                                    cited in Defendants’ May
                                                    21, 2021 and June 4, 2021   Extrinsic Evidence:
                                                    identifications of          • Plaintiffs’ Responses
                                                    constructions and evidence     to Invalidity
                                                    pursuant to L. Pat. R.         Contentions.
                                                    4.2(a)-(c).                    Plaintiffs’ Disclosure
                                                                                   of Asserted Claims
                                                    Extrinsic Evidence             and Infringement
                                                    • Evidence cited or relied    Contentions.
                                                        upon by Defendants,     • Expert opinions
                                                        including the materials    and/or testimony
                                                        cited in Defendants’       from Gregor
                                                        May 21, 2021 and June      Anderson regarding
                                                        4, 2021 identifications    how a person of
                                                        of constructions and       ordinary skill in the
                                                        evidence pursuant to L.    art would understand
                                                        Pat. R. 4.2(a)-(c).        the meaning of this
                                                    • Cipla’s and                  term in view of the
                                                        Aurobindo’s Non-           specification,
                                                        Infringement               prosecution history,
                                                        Contentions, including     intrinsic record, and



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                                                     exhibits and materials       the parties’ extrinsic
                                                     cited.                       evidence.
                                                 •   Cipla’s and
                                                     Aurobindo’s Invalidity
                                                     Contentions, including
                                                     exhibits and materials
                                                     cited.
                                                 •   Cipla’s and
                                                     Aurobindo’s Notice
                                                     Letters.
                                                 •   Cipla’s and
                                                     Aurobindo’s
                                                     Interrogatory
                                                     Responses, including
                                                     Cipla’s and
                                                     Aurobindo’s
                                                     Responses to
                                                     Interrogatory Nos. 1-5.
                                                 •   Expert opinions and/or
                                                     testimony regarding
                                                     how a person of
                                                     ordinary skill in the art
                                                     would understand the
                                                     meaning of this term
                                                     based on the
                                                     disclosures in the
                                                     patent specification,
                                                     other intrinsic
                                                     evidence, and the
                                                     parties’ extrinsic
                                                     evidence.




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3   “positioned at          Plain and ordinary           “positioned directly           U.S. Patent Nos. 9,463,289     Patents-in-Suit
    opposite ends of the    meaning in view of the       across from one another        • ’289 patent, claim 7         generally, including but
    inside surface of the   claims, specification, and   such that a straight line      • ’289 patent, 6:50-67         not limited to:
    main body to face       prosecution history.         can be drawn from one          • ’289 patent, 7:1-10          • ’289 patent, claim 7
    each other”                                          support rail through the       • ’289 patent, 10:47-58        • ’289 patent, 6:50-67
                         “located on opposite            center of the longitudinal     • ’289 patent, 11:4-12:8       • ’289 patent, 7:1-10
    ’289 Patent, claim 7 sides from one another          axis X to the facing           • ’289 patent, 12:54-13:2      • ’289 patent, 10:47-
    ’587 Patent, claims on the inside surface of         support rail”                                                      58
                                                                                        • ’289 patent, 13:23-39
    7, 18                the main body, and                                                                            • ’289 patent, 11:4-
                                                                                        • ’289 patent, 15:33-16:3
                         extending outwardly                                                                                12:8
                         from the inner wall                                            • ’289 patent, Figs. 1,
                                                                                            3A-3B, 7A-7D               • ’289 patent, 12:54-
                         towards each other”                                                                                13:2
                                                                                        U.S. Patent No. 9,808,587      • ’289 patent, 13:23-
                                                                                        •     ’587 patent, claims 7,        39
                                                                                              18, 22                   • ’289 patent, 15:33-
                                                                                        •     ’587 patent, Abstract         16:3
                                                                                        •     ’587 patent, 6:54-7:4    • ’289 patent, Figs. 1,
                                                                                        •     ’587 patent, 7:5-14           2, 3A-3B, 7A-7D
                                                                                        •     ’587 patent, 10:48-58    • ’587 patent, claims
                                                                                         • ’587 patent, 12:56-              7, 18, 22
                                                                                              13:4                     • ’587 patent, Abstract
                                                                                         • ’587 patent, 13:25-41       • ’587 patent, 6:54-7:4
                                                                                         • ’587 patent, 15:34-         •     ’587 patent, 7:5-14
                                                                                              16:4                     •     ’587 patent, 10:48-
                                                                                         • ’587 patent, 18:30-34             58
                                                                                         • ’587 patent, Figs. 1,       •     ’587 patent, 12:56-
                                                                                              3A-3B, 7A-7D                   13:4
                                                                                                                       •     ’587 patent, 13:25-
                                                                                        U.S. Application No.                 41
                                                                                        13/110,532                     •     ’587 patent, 15:34-
                                                                                                                             16:4




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                                                 •   ’532 application,         •   ’587 patent, 18:30-
                                                     Original claims (May          34
                                                     18, 2011)                 •   ’587 patent, Figs. 1,
                                                 •   ’532 application,             3A-3B, 7A-7D
                                                     office action (June 28,
                                                     2013)                   U.S. Application No.
                                                 •   ’532 application,       13/110,532 generally,
                                                     amendment and           including but not
                                                     response (Sept. 26,     limited to:
                                                     2013)                    • ’532 application,
                                                                                  Original claims
                                                U.S. Application No.              (May 18, 2011)
                                                14/103,324                    • ’532 application,
                                                 • ’324 application,               office action (June
                                                    original claims (Dec.          28, 2013)
                                                    11, 2013)                 • ’532 application,
                                                 • ’324 application, office        amendment and
                                                    action (Aug. 10, 2015)         response
                                                 • ’324 application,               (September 26,
                                                    amendment and                  2013)
                                                    response (Nov. 4,
                                                    2015)
                                                 • ’324 application, final   U.S. Application No.
                                                    rejection (Dec. 7, 2015) 14/103,324 generally,
                                                 • ’324 application,         including but not
                                                    amendment and            limited to:
                                                    response, 1-7 (Mar. 7,     • ’324 application,
                                                    2016)                          original claims
                                                 • ’324 application, notice        (December 11,
                                                    of allowance/                  2013)
                                                    allowability, 2-3 (May    •   ’324  application,
                                                    20, 2016)                     office action (August
                                                                                  10, 2015)


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                                                Additional Evidence            •   ’324 application,
                                                Identified Pursuant to L.          amendment and
                                                Pat. R. 4.2(c)                     response (November
                                                Intrinsic Evidence                 4, 2015)
                                                 • Evidence cited or relied    •   ’324 application,
                                                    upon by Defendants,            final rejection
                                                    including the materials        (December 7, 2015)
                                                    cited in Defendants’       •   ’324 application,
                                                    May 21, 2021 and June          amendment and
                                                    4, 2021 identifications        response, 1-7 (March
                                                    of constructions and           7, 2016)
                                                    evidence pursuant to L.    •   ’324 application,
                                                    Pat. R. 4.2(a)-(c).            notice of allowance/
                                                                                   allowability, 2-3
                                                Extrinsic Evidence                 (May 20, 2016)
                                                 • Evidence cited or
                                                      relied upon by           Extrinsic Evidence
                                                      Defendants,              • New Oxford
                                                      including the                American
                                                      materials cited in           Dictionary, 3rd
                                                      Defendants’ May 21,          Edition, Stevenson
                                                      2021 and June 4,             and Lindeberg,
                                                      2021 identifications         Oxford University
                                                      of constructions and         Press, Inc., 2010
                                                      evidence pursuant to         (“end”) at 572.
                                                      L. Pat. R. 4.2(a)-(c).   • New Oxford
                                                 • Cipla’s and                     American
                                                      Aurobindo’s Non-             Dictionary, 3rd
                                                      Infringement                 Edition, Stevenson
                                                      Contentions,                 and Lindeberg,
                                                      including exhibits           Oxford University
                                                      and materials cited.         Press, Inc., 2010
                                                                                   (“opposite”) at 1231.


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                                                 •   Cipla’s and                •   Plaintiffs’ Responses
                                                     Aurobindo’s                    to Invalidity
                                                     Invalidity                     Contentions.
                                                     Contentions, including     •   Plaintiffs’ Disclosure
                                                     exhibits and materials         of Asserted Claims
                                                     cited.                         and Infringement
                                                 • Cipla’s and                      Contentions.
                                                    Aurobindo’s Notice          •   Expert opinions
                                                    Letters.                        and/or testimony
                                                • Cipla’s and Aurobindo’s           from Gregor
                                                   Interrogatory                    Anderson regarding
                                                   Responses, including             how a person of
                                                   Cipla’s and Aurobindo’s          ordinary skill in the
                                                   Responses to                     art would understand
                                                   Interrogatory Nos. 1-5.          the meaning of this
                                                 • Expert opinions and/or           term in view of the
                                                   testimony regarding              specification,
                                                   how a person of                  prosecution history,
                                                   ordinary skill in the art        intrinsic record, and
                                                   would                            the parties’ extrinsic
                                                   understand the meaning           evidence.
                                                   of this term based on the
                                                   disclosures in the patent
                                                   specification,
                                                   other intrinsic evidence,
                                                   and the parties’ extrinsic
                                                   evidence.
                                                • Merriam-Webster’s
                                                   Collegiate Dictionary
                                                   411, 870-71 (11th ed
                                                   2003)
                                                • The American Heritage
                                                   Dictionary of the


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                    Case 2:20-cv-10172-JXN-MAH           Document 102-1         Filed 07/06/21   Page 15 of 98
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                                                                                     English Language 1237
                                                                                     (5th ed. 2018)
                                                                                  • The Merriam-Webster
                                                                                     Dictionary 162, 348-49
                                                                                     (New ed. 2005)
                                                                                   • New Oxford American
                                                                                      Dictionary 1231 (3rd
                                                                                      ed. 2010)
                                                                                   • Webster’s Third New
                                                                                     International Dictionary
                                                                                     of the English Language
                                                                                     Unabridged 747-48,
                                                                                     1583 (2002)
                                                                                   • Random House
                                                                                      Webster’s Unabridged
                                                                                      Dictionary 1359 (2nd
                                                                                      ed. 2001)
                                                                                   • Webster’s New World
                                                                                      College Dictionary 469
                                                                                      (4th ed. 1997)
                                                                                   • Random House
                                                                                      Webster’s College
                                                                                      Dictionary 430 (1998)
4   “step[(s)] formed    Plain and ordinary           “A stepwise increase in     U.S. Patent Nos. 9,463,289 Patents-in-Suit
    thereon”             meaning in view of the       the extent to which the     • ’289 patent, Claims 1,     generally, including but
                         claims, specification, and   support rail extends           4-10                      not limited to:
    ’289 Patent, claim   prosecution history.         inwardly”                      ’289 patent, 6:34-67     • ’289 patent, claims 1,
    5, 8                                                                          • ’289 patent, 7:1-19          4-10
    ’587 Patent, claim   “a location of changing                                  • 289 patent, 7:20-25       • ’289 patent, 6:34-67
    5, 8, 16, 19         width dimension                                          • ’289 patent, 9:22-34      • ’289 patent, 7:1-19
                         thereon”                                                 • ’289 patent, 11:4-12:8 • ’289 patent, 7:20-25
                                                                                  • ’289 patent, 12:13-13:2 • ’289 patent, 9:22-34



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                                                •  ’289 patent, 15:33-53     • ’289 patent, 11:4-
                                                •  ’289 patent, 15:54-16:3      12:8
                                                •  ’289 patent, Figs. 1, 7A- • ’289 patent, 12:13-
                                                   7D                           13:2
                                                                             • ’289 patent, 15:33-
                                                U.S. Patent No. 9,808,587       16:3
                                                • ’587 patent, claims 1, 3, • ’289 patent, Figs. 1,
                                                   4-13, 15-22                  7A-7D
                                                • ’587 patent, Abstract      • ’587 patent, claims 1,
                                                • ’587 patent, 6:38-7:4         3, 4-13, 15-22
                                                • ’587 patent, 7:5-23        • ’587 patent, Abstract
                                                • ’587 patent, 7:24-29       • ’587 patent, 6:38-7:4
                                                • ’587 patent, 9:25-37       • ’587 patent, 7:5-23
                                                • ’587 patent, 12:15-13:4 • ’587 patent, 7:24-29
                                                • ’587 patent, 15:34-54      • ’587 patent, 9:25-37
                                                • ’587 patent, 15:55-16:4 • ’587 patent, 12:15-
                                                • ’587 patent, Figs. 1, 7A-     13:4
                                                   7D                        • ’587 patent, 15:34-54
                                                                             • ’587 patent, 15:55-
                                                Additional Evidence             16:4
                                                Identified Pursuant to L.    • ’587 patent, Figs. 1,
                                                Pat. R. 4.2(c)                  7A-7D
                                                Intrinsic Evidence
                                                • Evidence cited or relied Plaintiffs’ Responses to
                                                    upon by Defendants,      Invalidity Contentions.
                                                    including the materials  • Plaintiffs’ Disclosure
                                                    cited in Defendants’        of Asserted Claims
                                                    May 21, 2021 and June       and Infringement
                                                    4, 2021 identifications     Contentions.
                                                    of constructions and
                                                    evidence pursuant to L. • Expert opinions
                                                    Pat. R. 4.2(a)-(c).         and/or testimony



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                                                                                from Gregor
                                                Extrinsic Evidence              Anderson regarding
                                                • Evidence cited or relied      how a person of
                                                   upon by Defendants,          ordinary skill in the
                                                   including the materials      art would understand
                                                   cited in Defendants’         the meaning of this
                                                   May 21, 2021 and June        term in view of the
                                                   4, 2021 identifications      specification,
                                                   of constructions and         prosecution history,
                                                   evidence pursuant to L.      intrinsic record, and
                                                   Pat. R. 4.2(a)-(c).          the parties’ extrinsic
                                                • Cipla’s and                   evidence.
                                                   Aurobindo’s Non-
                                                   Infringement
                                                   Contentions, including
                                                   exhibits and materials
                                                   cited.
                                                • Cipla’s and
                                                   Aurobindo’s Invalidity
                                                   Contentions, including
                                                   exhibits and materials
                                                   cited.
                                                • Cipla’s and
                                                   Aurobindo’s Notice
                                                   Letters.
                                                • Cipla’s and
                                                   Aurobindo’s
                                                   Interrogatory
                                                   Responses, including
                                                   Cipla’s and
                                                   Aurobindo’s Responses
                                                   to Interrogatory Nos. 1-
                                                   5.


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                                                                                    •  Expert opinions and/or
                                                                                       testimony regarding
                                                                                       how a person of
                                                                                       ordinary skill in the art
                                                                                       would understand the
                                                                                       meaning of this term
                                                                                       based on the disclosures
                                                                                       in the patent
                                                                                       specification, other
                                                                                       intrinsic evidence, and
                                                                                       the parties’ extrinsic
                                                                                       evidence.
5   “first reset         Plain and ordinary            “configuration in which      U.S. Patent No. 10,086,156     Patents-in-Suit
    position”            meaning in view of the        the actuator pawl is         • ’156 patent, claims 1, 2,    generally, including but
                         claims, specification, and    above the datum plane ,         5, 6, 8-10                  not limited to:
    ’156 Patent, claim 1 prosecution history.          but closer to the datum      • ’156 patent, Abstract        • ’289 patent, 13:40-
                                                       plane than in the start      • ’156 patent, 4:46-65            15:32
                          “a position of the           configuration, and is just   • ’156 patent, 6:7-19          • ’289 patent, Figs.
                          actuator in which the        engaged with one of a        • ’156 patent, 9:62-10:6          10A-10F
                          actuator pawl is brought     tooth of the ratchet wheel   • ’156 patent, 10:7-25         • ’156 patent, claims 1,
                          into engagement with the     ”                            • ’156 patent, 10:32-40           2, 5, 6, 8-10
                          first tooth of the ratchet                                                               • ’156 patent, Abstract
                                                                                    • ’156 patent, 10:59-11:2
                          wheel and which is                                                                       • ’156 patent, 4:46-65
                          before the canister fire                                  • ’156 patent, 11:4-12:10
                                                                                    • ’156 patent, 13:55-          • ’156 patent, 6:7-19
                          configuration”                                                                           • ’156 patent, 9:62-
                                                                                       14:10
                                                                                    • ’156 patent, 14:11-15           10:6
                                                                                    • ’156 patent, 14:16-26        • ’156 patent, 10:7-25
                                                                                    • ’156 patent, 14:27-41        • ’156 patent, 10:32-
                                                                                    • ’156 patent, 14:42-49           40’
                                                                                    • ’156 patent, 14:50-61        • ’156 patent, 10:59-
                                                                                    • ’156 patent, 14:62-             11:2
                                                                                       15:14                       • ’156 patent, 11:4-
                                                                                                                      12:10


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                                                •   ’156 patent, 15:15-33      •   ’156 patent, 13:55-
                                                •   ’156 patent, 17:24-61          14:10
                                                •   ’156 patent, Figs. 4A-C,   •   ’156 patent, 14:11-15
                                                    6A-11, 14-20               •   ’156 patent, 14:16-26
                                                                               •   ’156 patent, 14:27-41
                                                U.S. Patent Application        •   ’156 patent, 14:42-49
                                                No. 14/699,567 File            •   ’156 patent, 14:50-61
                                                History                        •   ’156 patent, 14:62-
                                                • ’567 application                 15:14
                                                   original claims 1, 2, 5,    •   ’156 patent, 15:15-33
                                                   6, 8-10                     •   ’156 patent, 17:24-61
                                                                               •   ’156 patent, Figs. 4A-
                                                •   ’567 application, office       C, 6A-11, 14-20
                                                    action 3-9 (June 17,
                                                    2016)                      U.S. Patent Application
                                                •   ’567 application,          No. 14/699,567 File
                                                    amended claims 1, 2, 5,    History generally,
                                                    6, 8-10, 13 (Sept. 9,      including but not
                                                    2016).                     limited to:
                                                •   ’567 application,          • ’567 application,
                                                    response 6-8 (Sept. 9,         original claims 1, 2,
                                                    2016)                          5, 6, 8-10
                                                •   ’567 application, office   • ’567 application,
                                                    action 2-12 (Oct. 20,          office action 3-9
                                                    2016)                          (June 17, 2016)
                                                •   ’567 application,          • ’567 application,
                                                    amended claims 1, 2, 5,        amended claims 1, 2,
                                                    6, 8-10, 13 (Feb. 21,          5, 6, 8-10, 13 (Sept.
                                                    2017)                      • 9, 2016).
                                                •   ’567 application,          • ’567 application,
                                                    response 7-9 (Feb. 21,         response 6-8 (Sept. 9,
                                                    2017)                          2016)



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                                                •   ’567 application,          •   ’567 application,
                                                    amended claims 1, 2, 5,        office action 2-12
                                                    6, 8-10, 13 (Apr. 20,          (Oct. 20, 2016)
                                                    2017)                      •   ’567 application,
                                                •   ’567 application,              amended claims 1, 2,
                                                    response 6-9 (Apr. 20,         5, 6, 8-10, 13 (Feb.
                                                    2017)                          21, 2017)
                                                •   ’567 application, office   •   ’567 application,
                                                    action 2-13 (May 22,           response 7-9 (Feb.
                                                    2017)                          21, 2017)
                                                •   ’567 application,          •   ’567 application,
                                                    amended claims 1, 2, 5,        amended claims 1, 2,
                                                    6, 8-10, 13 (Aug. 22,          5, 6, 8-10, 13 (Apr.
                                                    2017)                          20, 2017)
                                                •   ’567 application,          •   ’567 application,
                                                    response 5-9 (Aug. 22,         response 6-9 (Apr.
                                                    2017)                          20, 2017)
                                                •   ’567 application, office   •   ’567 application,
                                                    action 2-15 (Sept 13,          office action 2-13
                                                    2017)                          (May 22, 2017)
                                                •   ’567 application,          •   ’567 application,
                                                    amended claims 1, 2, 5,        amended claims 1, 2,
                                                    6, 8-10, 13 (Mar. 13,          5, 6, 8-10, 13 (Aug.
                                                    2013)                          22, 2017)
                                                •   ’567 application,          •   ’567 application,
                                                    response 6-7 (Mar. 13,         response 5-9 (Aug.
                                                    2013)                          22, 2017)
                                                •   ’567 application, notice   •   ’567 application,
                                                    of allowability 2-3            office action 2-15
                                                    (May 31, 2013)                 (Sept. 13, 2017)
                                                                               •   ’567 application,
                                                                                   amended claims 1, 2,



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                                                Additional Evidence               5, 6, 8-10, 13 (Mar.
                                                Identified Pursuant to L.         13, 2013)
                                                Pat. R. 4.2(c)                •   ’567 application,
                                                Intrinsic Evidence                response 6-7 (Mar.
                                                • Evidence cited or relied        13, 2013)
                                                    upon by Defendants        •   ’567 application,
                                                    including the materials       notice of allowability
                                                    cited in Defendants’          2-3 (May 31, 2013)
                                                    May 21, 2021 and June     •   Plaintiffs’ Responses
                                                    4, 2021 identifications       to Invalidity
                                                    of constructions and          Contentions.
                                                    evidence pursuant to L.   •   Plaintiffs’ Disclosure
                                                    Pat. R. 4.2(a)-(c).           of Asserted Claims
                                                                                  and Infringement
                                                U.S. Application No.              Contentions.
                                                13/110,532 File History       •   Expert opinions
                                                • ’532 application,               and/or testimony
                                                   original claims 1-2            from Gregor
                                                   (May 18, 2011)                 Anderson regarding
                                                • ’532 application, office        how a person of
                                                   action 2-4 (June 28,           ordinary skill in the
                                                   2013)                          art would understand
                                                • ’532 application,               the meaning of this
                                                   amended claims 1-2             term in view of the
                                                   (Sept. 26, 2013)               specification,
                                                • ’532 application,               prosecution history,
                                                   response 4-6 (Sept. 26,        intrinsic record, and
                                                   2013)                          the parties’ extrinsic
                                                • ’532 application,               evidence.
                                                   amended claims 1-2
                                                   (Nov. 27, 2013)




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                                                •   ’532 application,
                                                    response 4-6 (Nov. 27,
                                                    2013)
                                                •   ’532 application, office
                                                    action 2-5 (July 1,
                                                    2014)
                                                •   ’532 application,
                                                    amended claims 1-2
                                                    (Sept. 30, 2014)
                                                •   ’532 application,
                                                    response 5-6 (Sept. 30,
                                                    2014)
                                                •   ’532 application, office
                                                    action 2-7 (Oct. 17,
                                                    2014)
                                                •   ’532 application,
                                                    amended claims 1-2
                                                    (Dec. 5, 2014)
                                                •   ’532 application,
                                                    response 6-8 (Dec. 5,
                                                    2014)
                                                •   ’532 application, notice
                                                    of allowance 2-3 (Jan.
                                                    21, 2015)

                                                Extrinsic Evidence
                                                • Evidence cited or relied
                                                   upon by Defendants,
                                                   including the materials
                                                   cited in Defendants’
                                                   May 21, 2021 and June
                                                   4, 2021 identifications
                                                   of constructions and


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                                                    evidence pursuant to L.
                                                    Pat. R. 4.2(a)-(c).
                                                •   Cipla’s and
                                                    Aurobindo’s Non-
                                                    Infringement
                                                    Contentions, including
                                                    exhibits and materials
                                                    cited.
                                                •   Cipla’s and
                                                    Aurobindo’s Invalidity
                                                    Contentions, including
                                                    exhibits and materials
                                                    cited.
                                                •   Cipla’s and
                                                    Aurobindo’s Notice
                                                    Letters.
                                                •   Cipla’s and
                                                    Aurobindo’s
                                                    Interrogatory
                                                    Responses, including
                                                    Cipla’s and
                                                    Aurobindo’s Responses
                                                    to Interrogatory Nos. 1-
                                                    5.
                                                •   Expert opinions and/or
                                                    testimony regarding
                                                    how a person of
                                                    ordinary skill in the art
                                                    would understand the
                                                    meaning of this term
                                                    based on the disclosures
                                                    in the patent
                                                    specification, other


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                                                                                        intrinsic evidence, and
                                                                                        the parties’ extrinsic
                                                                                        evidence.
6   “canister fire       Plain and ordinary           “process of ejecting           U.S. Patent No. 10,086,156    Patents-in-Suit
    sequence”            meaning in view of the       medicament from an             • ’156 patent, claims 1, 2,   generally, including but
                         claims, specification, and   inhaler where the                 5, 6, 8-10                 not limited to:
    ’156 Patent, claim 1 prosecution history.         actuator pawl follows a        • ’156 patent, Abstract       • ’289 patent, 13:40-
                                                      particular sequence of         • ’156 patent, 4:46-65           15:32
                          “a sequence of              movement from the start        • ’156 patent, 6:7-19         • ’289 patent, Figs.
                          configurations and          configuration to the reset     • ’156 patent, 9:62-10:6         10A-10F
                          positions that occur        configuration, to the fire     • ’156 patent, 10:7-25        • ’156 patent, claims 1,
                          before, while, and after    configuration, to the                                           2, 5, 6, 8-10
                                                                                     • ’156 patent, 10:32-40
                          the medicament canister     count configuration,                                         • ’156 patent, Abstract
                                                                                     • ’156 patent, 10:59-11:2
                          fires medicament”           before returning to the                                      • ’156 patent, 4:46-65
                                                      start configuration upon       • ’156 patent, 11:4-12:10
                                                                                     • ’156 patent, 13:55-         • ’156 patent, 6:7-19
                                                      release of pressure on the                                   • ’156 patent, 9:62-
                                                      canister, where in the            14:10
                                                                                     • ’156 patent, 14:11-15          10:6
                                                      start configuration, prior
                                                                                     • ’156 patent, 14:16-26       • ’156 patent, 10:7-25
                                                      to depression of the
                                                                                     • ’156 patent, 14:27-41       • ’156 patent, 10:32-40
                                                      canister, the count pawl
                                                      is engaged with a tooth        • ’156 patent, 14:42-49       • ’156 patent, 10:59-
                                                      of the ratchet wheel and       • ’156 patent, 14:50-61          11:2
                                                      the actuator pawl is           • ’156 patent, 14:62-         • ’156 patent, 11:4-
                                                      spaced from the ratchet           15:14                         12:10
                                                      wheel.”                        • ’156 patent, 15:15-33       • ’156 patent, 13:55-
                                                                                     • ’156 patent, 17:24-61          14:10
                                                                                     • ’156 patent, Figs. 4A-C,    • ’156 patent, 14:11-15
                                                                                        6A-11, 14-20               • ’156 patent, 14:16-26
                                                                                                                   • ’156 patent, 14:27-41
                                                                                     U.S. Patent Application       • ’156 patent, 14:42-49
                                                                                     No. 14/699,567 File           • ’156 patent, 14:50-61
                                                                                     History                       • ’156 patent, 14:62-
                                                                                                                      15:14


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                                                •   ’567 application,          •   ’156 patent, 15:15-33
                                                    original claims 1, 2, 5,   •   ’156 patent, 17:24-61
                                                    6, 8-10                    •   ’156 patent, Figs. 4A-
                                                •   ’567 application, office       C, 6A-11, 14-20
                                                    action 3-9 (June 17,
                                                    2016)                      U.S. Patent Application
                                                •   ’567 application,          No. 14/699,567 File
                                                    amended claims 1, 2, 5,    History generally,
                                                    6, 8-10, 13 (Sept. 9,      including but not
                                                    2016).                     limited to:
                                                •   ’567 application,          • ’567 application,
                                                    response 6-8 (Sept. 9,         original claims 1, 2,
                                                    2016)                          5, 6, 8-10
                                                •   ’567 application, office   • ’567 application,
                                                    action 2-12 (Oct. 20,          office action 3-9
                                                    2016)                          (June 17, 2016)
                                                •   ’567 application,          • ’567 application,
                                                    amended claims 1, 2, 5,        amended claims 1, 2,
                                                    6, 8-10, 13 (Feb. 21,          5, 6, 8-10, 13 (Sept.
                                                    2017)                          9, 2016).
                                                •   ’567 application,          • ’567 application,
                                                    response 7-9 (Feb. 21,         response 6-8 (Sept. 9,
                                                    2017)                          2016)
                                                •   ’567 application,          • ’567 application,
                                                    amended claims 1, 2, 5,        office action 2-12
                                                    6, 8-10, 13 (Apr. 20,          (Oct. 20, 2016)
                                                    2017)                      • ’567 application,
                                                •   ’567 application,              amended claims 1, 2,
                                                    response 6-9 (Apr. 20,         5, 6, 8-10, 13 (Feb.
                                                    2017)                          21, 2017)
                                                •   ’567 application, office   • ’567 application,
                                                    action 2-13 (May 22,           response 7-9 (Feb.
                                                    2017)                          21, 2017)


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                                                •   ’567 application,          •   ’567 application,
                                                    amended claims 1, 2, 5,        amended claims 1, 2,
                                                    6, 8-10, 13 (Aug. 22,          5, 6, 8-10, 13 (Apr.
                                                    2017)                          20, 2017)
                                                •   ’567 application,          •   ’567 application,
                                                    response 5-9 (Aug. 22,         response 6-9 (Apr.
                                                    2017)                          20, 2017)
                                                •   ’567 application, office   •   ’567 application,
                                                    action 2-15 (Sept. 13,         office action 2-13
                                                    2017)                          (May 22, 2017)
                                                •   ’567 application,          •   ’567 application,
                                                    amended claims 1, 2, 5,        amended claims 1, 2,
                                                    6, 8-10, 13 (Mar. 13,          5, 6, 8-10, 13 (Aug.
                                                    2013)                          22, 2017)
                                                •   ’567 application,          •   ’567 application,
                                                    response 6-7 (Mar. 13,         response 5-9 (Aug.
                                                    2013)                          22, 2017)
                                                                               •   ’567 application,
                                                Additional Evidence                office action 2-15
                                                Identified Pursuant to L.          (Sept. 13, 2017)
                                                Pat. R. 4.2(c)                 •   ’567 application,
                                                Intrinsic Evidence                 amended claims 1, 2,
                                                • Evidence cited or relied         5, 6, 8-10, 13 (Mar.
                                                    upon by Defendants,            13, 2013)
                                                    including the materials    •   ’567 application,
                                                    cited in Defendants’           response 6-7 (Mar.
                                                    May 21, 2021 and June          13, 2013)
                                                    4, 2021 identifications    •   New Oxford
                                                    of constructions and           American Dictionary,
                                                    evidence pursuant to L.        3rd Edition,
                                                    Pat. R. 4.2(a)-(c).            Stevenson and
                                                                                   Lindeberg, Oxford
                                                                                   University Press,


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                                                U.S. Application No.             Inc., 2010
                                                13/110,532 File History          (“sequence”) at 1593
                                                • ’532 application,
                                                   original claims 1-2       •   Plaintiffs’ Responses
                                                   (May 18, 2011)                to Invalidity
                                                • ’532 application, office       Contentions.
                                                   action 2-4 (June 28,      •   Plaintiffs’ Disclosure
                                                   2013)                         of Asserted Claims
                                                • ’532 application,              and Infringement
                                                   amended claims 1-2            Contentions.
                                                   (Sept. 26, 2013)          •   Expert opinions
                                                • ’532 application,              and/or testimony
                                                   response 4-6 (Sept. 26,       from Gregor
                                                   2013)                         Anderson regarding
                                                • ’532 application,              how a person of
                                                   amended claims 1-2            ordinary skill in the
                                                   (Nov. 27, 2013)               art would understand
                                                • ’532 application,              the meaning of this
                                                   response 4-6 (Nov. 27,        term in view of the
                                                   2013)                         specification,
                                                • ’532 application, office       prosecution history,
                                                   action 2-5 (July 1,           intrinsic record, and
                                                   2014)                         the parties’ extrinsic
                                                • ’532 application,              evidence.
                                                   amended claims 1-2
                                                   (Sept. 30, 2014)
                                                • ’532 application,
                                                   response 5-6 (Sept. 30,
                                                   2014)
                                                • ’532 application, office
                                                   action 2-7 (Oct. 17,
                                                   2014)



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Case 2:20-cv-10172-JXN-MAH   Document 102-1   Filed 07/06/21     Page 28 of 98
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                                                •   ’532 application,
                                                    amended claims 1-2
                                                    (Dec. 5, 2014)
                                                •   ’532 application,
                                                    response 6-8 (Dec. 5,
                                                    2014)
                                                •   ’532 application, notice
                                                    of allowance 2-3 (Jan.
                                                    21, 2015)

                                                Extrinsic Evidence
                                                • Evidence cited or relied
                                                   upon by Defendants,
                                                   including the materials
                                                   cited in Defendants’
                                                   May 21, 2021 and June
                                                   4, 2021 identifications
                                                   of constructions and
                                                   evidence pursuant to L.
                                                   Pat. R. 4.2(a)-(c).
                                                • Cipla’s and
                                                   Aurobindo’s Non-
                                                   Infringement
                                                   Contentions, including
                                                   exhibits and materials
                                                   cited.
                                                • Cipla’s and
                                                   Aurobindo’s Invalidity
                                                   Contentions, including
                                                   exhibits and materials
                                                   cited.




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                     Case 2:20-cv-10172-JXN-MAH           Document 102-1        Filed 07/06/21       Page 29 of 98
                                                           PageID: 3232



                                                                                    •   Cipla’s and
                                                                                        Aurobindo’s Notice
                                                                                        Letters.
                                                                                    •   Cipla’s and
                                                                                        Aurobindo’s
                                                                                        Interrogatory
                                                                                        Responses, including
                                                                                        Cipla’s and
                                                                                        Aurobindo’s Responses
                                                                                        to Interrogatory Nos. 1-
                                                                                        5.
                                                                                    •   Expert opinions and/or
                                                                                        testimony regarding
                                                                                        how a person of
                                                                                        ordinary skill in the art
                                                                                        would understand the
                                                                                        meaning of this term
                                                                                        based on the disclosures
                                                                                        in the patent
                                                                                        specification, other
                                                                                        intrinsic evidence, and
                                                                                        the parties’
                                                                                        extrinsic evidence.

7   “canister fire        Plain and ordinary           “configuration in which      U.S. Patent No. 10,086,156      Patents-in-Suit
    configuration”        meaning in view of the       the actuator pawl is lower   • ’156 patent, claims 1, 2,     generally, including but
                          claims, specification, and   than in the first reset         5, 8-10                      not limited to:
    ’156 Patent, claims   prosecution history.         position and below the       • ’156 patent, Abstract         • ’289 patent, 13:40-
    1, 2                                               datum plane and the          • ’156 patent, 4:46-65             15:32
                          “a configuration of the      medicament is ejected”       • ’156 patent, 6:7-19           • ’289 patent, Figs.
                          dose counter in which the                                 • ’156 patent, 9:62-10:6           10A-10F
                          medicament canister fires                                 • ’156 patent, 10:7-25          • ’156 patent, claims 1,
                          medicament”                                               • ’156 patent, 10:32-40            2, 5, 8-10


                                                                 -29-
Case 2:20-cv-10172-JXN-MAH   Document 102-1   Filed 07/06/21    Page 30 of 98
                              PageID: 3233



                                                •   ’156 patent, 10:59-11:2    •   ’156 patent, Abstract
                                                •   ’156 patent, 11:4-12:10    •   ’156 patent, 4:46-65
                                                •   ’156 patent, 13:55-        •   ’156 patent, 6:7-19
                                                    14:10                      •   ’156 patent, 9:62-
                                                •   ’156 patent, 14:11-15          10:6
                                                •   ’156 patent, 14:16-26      •   ’156 patent, 10:7-25
                                                •   ’156 patent, 14:27-41      •   ’156 patent, 10:32-40
                                                •   ’156 patent, 14:42-49      •   ’156 patent, 10:59-
                                                •   ’156 patent, 14:50-61          11:2
                                                •   ’156 patent, 14:62-        •   ’156 patent, 11:4-
                                                    15:14                          12:10
                                                •   ’156 patent, 15:15-33      •   ’156 patent, 13:55-
                                                •   ’156 patent, 17:24-61          14:10
                                                •   ’156 patent, Figs. 4A-C,   •   ’156 patent, 14:11-15
                                                    6A-11, 14-20               •   ’156 patent, 14:16-26
                                                                               •   ’156 patent, 14:27-41
                                                U.S. Patent Application        •   ’156 patent, 14:42-49
                                                No. 14/699,567 File            •   ’156 patent, 14:50-61
                                                History                        •   ’156 patent, 14:62-
                                                • ’567 application,                15:14
                                                   original claims 1, 2, 5,    •   ’156 patent, 15:15-33
                                                   6, 8-10                     •   ’156 patent, 17:24-61
                                                • ’567 application, office     •   ’156 patent, Figs. 4A-
                                                   action 3-9 (June 17,            C, 6A-11, 14-20
                                                   2016)
                                                • ’567 application,            U.S. Patent Application
                                                   amended claims 1, 2, 5,     No. 14/699,567 File
                                                   6, 8-10, 13 (Sept. 9,       History generally,
                                                   2016).                      including but not
                                                • ’567 application,            limited to:
                                                   response 6-8 (Sept. 9,
                                                   2016)



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Case 2:20-cv-10172-JXN-MAH   Document 102-1   Filed 07/06/21     Page 31 of 98
                              PageID: 3234



                                                •   ’567 application, office   •   ’567 application,
                                                    action 2-12 (Oct. 20,          original claims 1, 2,
                                                    2016)                          5, 6, 8-10
                                                •   ’567 application,          •   ’567 application,
                                                    amended claims 1, 2, 5,        office action 3-9
                                                    6, 8-10, 13 (Feb. 21,          (June 17, 2016)
                                                    2017)                      •   ’567 application,
                                                •   ’567 application,              amended claims 1, 2,
                                                    response 7-9 (Feb. 21,         5, 6, 8-10, 13 (Sept.
                                                    2017)                          9, 2016).
                                                •   ’567 application,          •   ’567 application,
                                                    amended claims 1, 2, 5,        response 5-9 (Sept. 9,
                                                    6, 8-10, 13 (Apr. 20,          2016)
                                                    2017)                      •   ’567 application,
                                                •   ’567 application,              office action 2-12
                                                    response 6-9 (Apr. 20,         (Oct. 20, 2016)
                                                    2017)                      •   ’567 application,
                                                •   ’567 application, office       amended claims 1, 2,
                                                    action 2-13 (May 22,           5, 6, 8-10, 13 (Feb.
                                                    2017)                          21, 2017)
                                                •   ’567 application,          •   ’567 application,
                                                    amended claims 1, 2, 5,        response 7-9 (Feb.
                                                    6, 8-10, 13 (Aug. 22,          21, 2017)
                                                    2017)                      •   ’567 application,
                                                •   ’567 application,              amended claims 1, 2,
                                                    response 5-9 (Aug. 22,         5, 6, 8-10, 13 (Apr.
                                                    2017)                          20, 2017)
                                                •   ’567 application, office   •   ’567 application,
                                                    action 2-15 (Sept. 13,         response 5-9 (Apr.
                                                    2017)                          20, 2017)
                                                •   ’567 application,          •   ’567 application,
                                                    amended claims 1, 2, 5,        office action 2-13
                                                                                   (May 22, 2017)


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Case 2:20-cv-10172-JXN-MAH   Document 102-1   Filed 07/06/21    Page 32 of 98
                              PageID: 3235



                                                    6, 8-10, 13 (Mar. 13,     •   ’567 application,
                                                    2013)                         amended claims 1, 2,
                                                •   ’567 application,             5-10, 13 (Aug. 22,
                                                    response 6-7 (Mar. 13,        2017)
                                                    2013)                     •   ’567 application,
                                                                                  response 5-9 (Aug.
                                                Additional Evidence               22, 2017)
                                                Identified Pursuant to L.     •   ’567 application,
                                                Pat. R. 4.2(c)                    office action 2-15
                                                Intrinsic Evidence                (Sept. 13, 2017)
                                                • Evidence cited or relied    •   ’567 application,
                                                    upon by Defendants,           amended claims 1, 2,
                                                    including the materials       5, 6, 8-10, 13 (Mar.
                                                    cited in Defendants’          13, 2013)
                                                    May 21, 2021 and June     •   ’567 application,
                                                    4, 2021 identifications       response 6-7 (Mar.
                                                    of constructions and          13, 2013)
                                                    evidence pursuant to L.
                                                    Pat. R. 4.2(a)-(c).       •   Expert opinions
                                                                                  and/or testimony
                                                U.S. Application No.              from Gregor
                                                13/110,532 File History           Anderson regarding
                                                • ’532 application,               how a person of
                                                   original claims 1-2            ordinary skill in the
                                                   (May 18, 2011)                 art would understand
                                                • ’532 application, office        the meaning of this
                                                   action 2-4 (June 28,           term in view of the
                                                   2013)                          specification,
                                                • ’532 application,               prosecution history,
                                                   amended claims 1-2             intrinsic record, and
                                                   (Sept. 26, 2013)               the parties’ extrinsic
                                                                                  evidence.



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                              PageID: 3236



                                                •   ’532 application,
                                                    response 4-6 (Sept. 26,
                                                    2013)
                                                •   ’532 application,
                                                    amended claims 1-2
                                                    (Nov. 27, 2013)
                                                •   ’532 application,
                                                    response 4-6 (Nov. 27,
                                                    2013)
                                                •   ’532 application, office
                                                    action 2-5 (July 1,
                                                    2014)
                                                •   ’532 application,
                                                    amended claims 1-2
                                                    (Sept. 30, 2014)
                                                •   ’532 application,
                                                    response 5-6 (Sept. 30,
                                                •   2014)
                                                •   ’532 application, office
                                                    action 2-7 (Oct. 17,
                                                    2014)
                                                •   ’532 application,
                                                    amended claims 1-2
                                                    (Dec. 5, 2014)
                                                •   ’532 application,
                                                    response 6-8 (Dec. 5,
                                                    2014)
                                                •   ’532 application, notice
                                                    of allowance 2-3 (Jan.
                                                    21, 2015)

                                                Extrinsic Evidence



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                                                •   Evidence cited or relied
                                                    upon by Defendants,
                                                    including the materials
                                                    cited in Defendants’
                                                    May 21, 2021 and June
                                                    4, 2021 identifications
                                                    of constructions and
                                                    evidence pursuant to L.
                                                    Pat. R. 4.2(a)-(c).
                                                •   Cipla’s and
                                                    Aurobindo’s Non-
                                                    Infringement
                                                    Contentions, including
                                                    exhibits and materials
                                                    cited.
                                                •   Cipla’s and
                                                    Aurobindo’s Invalidity
                                                    Contentions, including
                                                    exhibits and materials
                                                    cited.
                                                •   Cipla’s and
                                                    Aurobindo’s Notice
                                                    Letters.
                                                •   Cipla’s and
                                                    Aurobindo’s
                                                    Interrogatory
                                                    Responses, including
                                                    Cipla’s and
                                                    Aurobindo’s Responses
                                                    to Interrogatory Nos. 1-
                                                    5.
                                                •   Expert opinions and/or
                                                    testimony regarding


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                     Case 2:20-cv-10172-JXN-MAH         Document 102-1          Filed 07/06/21    Page 35 of 98
                                                         PageID: 3238



                                                                                     how a person of
                                                                                     ordinary skill in the art
                                                                                     would understand the
                                                                                     meaning of this term
                                                                                     based on the disclosures
                                                                                     in the patent
                                                                                     specification, other
                                                                                     intrinsic evidence, and
                                                                                     the parties’ extrinsic
                                                                                     evidence.
8   “count                Plain and ordinary       “configuration in which        U.S. Patent No. 10,086,156     Patents-in-Suit
    configuration”        meaning in view of the   the actuator pawl is           • ’156 patent, claims 1, 2,    generally, including but
                          claims, specification, and
                                                   further below the datum           5, 6, 8-10                  not limited to:
    ’156 Patent, claims   prosecution history.     plane than when in the         • ’156 patent, Abstract        • ’289 patent, 13:40-
    1, 2                                           canister fire position and     • ’156 patent, 4:46-65            15:32
                          “a configuration of the  the dose counter has           • ’156 patent, 6:7-19          • ’289 patent, Figs.
                          dose counter whereby the counted one dose”              • ’156 patent, 9:62-10:6          10A-10F
                          dosage indicator has                                    • ’156 patent, 10:7-25         • ’156 patent, claims 1,
                          indicated a count”                                                                        2, 5, 6, 8-10
                                                                                  • ’156 patent, 10:32-40
                                                                                  • ’156 patent, 10:59-11:2      • ’156 patent, Abstract
                                                                                  • ’156 patent, 11:4-12:10      • ’156 patent, 4:46-65
                                                                                  • ’156 patent, 13:55-          • ’156 patent, 6:7-19
                                                                                     14:10                       • ’156 patent, 9:62-
                                                                                  • ’156 patent, 14:11-15           10:6
                                                                                  • ’156 patent, 14:16-26        • ’156 patent, 10:7-25
                                                                                  • ’156 patent, 14:27-41        • ’156 patent, 10:32-40
                                                                                  • ’156 patent, 14:42-49        • ’156 patent, 10:59-
                                                                                  • ’156 patent, 14:50-61           11:2
                                                                                  • ’156 patent, 14:62-          • ’156 patent, 11:4-
                                                                                     15:14                          12:10
                                                                                  • ’156 patent, 15:15-33        • ’156 patent, 13:55-
                                                                                  • ’156 patent, 17:24-61           14:10



                                                               -35-
Case 2:20-cv-10172-JXN-MAH   Document 102-1   Filed 07/06/21    Page 36 of 98
                              PageID: 3239



                                                •   ’156 patent, Figs. 4A-C,   •   ’156 patent, 14:11-15
                                                    6A-11, 14-20               •   ’156 patent, 14:16-26
                                                                               •   ’156 patent, 14:27-41
                                                U.S. Patent Application        •   ’156 patent, 14:42-49
                                                No. 14/699,567 File            •   ’156 patent, 14:50-61
                                                History                        •   ’156 patent, 14:62-
                                                • ’567 application,                15:14
                                                   original claims 1, 2, 5,    •   ’156 patent, 15:15-33
                                                   6, 8-10                     •   ’156 patent, 17:24-61
                                                • ’567 application, office     •   ’156 patent, Figs. 4A-
                                                   action 3-9 (June 17,            C, 6A-11, 14-20
                                                   2016)
                                                • ’567 application,            U.S. Patent Application
                                                   amended claims 1, 2, 5,     No. 14/699,567 File
                                                   6, 8-10, 13 (Sept. 9,       History generally,
                                                   2016).                      including but not
                                                • ’567 application,            limited to:
                                                   response 6-8 (Sept. 9,      • ’567 application,
                                                   2016)                           original claims 1, 2,
                                                • ’567 application, office         5, 6, 8-10
                                                   action 2-12 (Oct. 20,       • ’567 application,
                                                   2016)                           office action 3-9
                                                • ’567 application,                (June 17, 2016)
                                                   amended claims 1, 2, 5,     • ’567 application,
                                                   6, 8-10, 13 (Feb. 21,           amended claims 1, 2,
                                                   2017)                           5, 6, 8-10, 13 (Sept.
                                                • ’567 application,                9, 2016).
                                                   response 7-9 (Feb. 21,      • ’567 application,
                                                   2017)                           response 5-9 (Sept. 9,
                                                • ’567 application,                2016)
                                                   amended claims 1, 2, 5,
                                                   6, 8-10, 13 (Apr. 20,
                                                   2017)


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Case 2:20-cv-10172-JXN-MAH   Document 102-1   Filed 07/06/21     Page 37 of 98
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                                                •   ’567 application,          •   ’567 application,
                                                    response 6-9 (Apr. 20,         office action 2-12
                                                    2017)                          (Oct. 20, 2016)
                                                •   ’567 application, office   •   ’567 application,
                                                    action 2-13 (May 22,           amended claims 1, 2,
                                                    2017)                          5, 6, 8-10, 13 (Feb.
                                                •   ’567 application,              21, 2017)
                                                    amended claims 1, 2, 5,    •   ’567 application,
                                                    6, 8-10, 13 (Aug. 22,          response 7-9 (Feb.
                                                    2017)                          21, 2017)
                                                •   ’567 application,          •   ’567 application,
                                                    response 5-9 (Aug. 22,         amended claims 1, 2,
                                                •   2017)                          5, 6, 8-10, 13 (Apr.
                                                •   ’567 application, office       20, 2017)
                                                    action 2-15 (Sept. 13,     •   ’567 application,
                                                    2017)                          response 5-9 (Apr.
                                                •   ’567 application,              20, 2017)
                                                    amended claims 1, 2, 5,    •   ’567 application,
                                                    6, 8-10, 13 (Mar. 13,          office action 2-13
                                                    2013)                          (May 22, 2017)
                                                •   ’567 application,          •   ’567 application,
                                                    response 6-7 (Mar. 13,         amended claims 1, 2,
                                                    2013)                          5-10, 13 (Aug. 22,
                                                                                   2017)
                                                Additional Evidence            •   ’567 application,
                                                Identified Pursuant to L.          response 5-9 (Aug.
                                                Pat. R. 4.2(c)                     22, 2017)
                                                Intrinsic Evidence             •   ’567 application,
                                                • Evidence cited or relied         office action 2-15
                                                    upon by Defendants,            (Sept. 13, 2017)
                                                    including the materials    •   ’567 application,
                                                    cited in Defendants            amended claims 1, 2,
                                                    May 21, 2021 and June


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Case 2:20-cv-10172-JXN-MAH   Document 102-1   Filed 07/06/21   Page 38 of 98
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                                                   4, 2021 identifications       5, 6, 8-10, 13 (Mar.
                                                   of constructions and          13, 2013)
                                                   evidence pursuant to L.   •   ’567 application,
                                                   Pat. R. 4.2(a)-(c).           response 6-7 (Mar.
                                                                                 13, 2013)
                                                U.S. Application No.
                                                13/110,532 File History      •   Plaintiffs’ Responses
                                                • ’532 application,              to Invalidity
                                                   original claims 1-2           Contentions.
                                                   (May 18, 2011)            •   Plaintiffs’ Disclosure
                                                • ’532 application, office       of Asserted Claims
                                                   action 2-4 (June 28,          and Infringement
                                                   2013)                         Contentions.
                                                • ’532 application,          •   Expert opinions
                                                   amended claims 1-2            and/or testimony
                                                   (Sept. 26, 2013)              from Gregor
                                                • ’532 application,              Anderson regarding
                                                   response 4-6 (Sept. 26,       how a person of
                                                   2013)                         ordinary skill in the
                                                • ’532 application,              art would understand
                                                   amended claims 1-2            the meaning of this
                                                   (Nov 27, 2013)                term in view of the
                                                • ’532 application,              specification,
                                                   response 4-6 (Nov. 27,        prosecution history,
                                                   2013)                         intrinsic record, and
                                                • ’532 application, office       the parties’ extrinsic
                                                   action 2-5 (July 1,           evidence.
                                                   2014)
                                                • ’532 application,
                                                   amended claims 1-2
                                                   (Sept. 30, 2014)




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Case 2:20-cv-10172-JXN-MAH   Document 102-1   Filed 07/06/21     Page 39 of 98
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                                                •   ’532 application,
                                                    response 5-6 (Sept. 30,
                                                    2014)
                                                •   ’532 application, office
                                                    action 2-7 (Oct. 17,
                                                    2014)
                                                •   ’532 application,
                                                    amended claims 1-2
                                                    (Dec. 5, 2014)
                                                •   ’532 application,
                                                    response 6-8 (Dec. 5,
                                                    2014)
                                                •   ’532 application, notice
                                                    of allowance 2-3 (Jan.
                                                    21, 2015)

                                                Extrinsic Evidence
                                                • Evidence cited or relied
                                                   upon by Defendants,
                                                   including the materials
                                                   cited in Defendants’
                                                   May 21, 2021 and June
                                                   4, 2021 identifications
                                                   of constructions and
                                                   evidence pursuant to L.
                                                   Pat. R. 4.2(a)-(c).
                                                • Cipla’s and
                                                   Aurobindo’s Non-
                                                   Infringement
                                                   Contentions, including
                                                   exhibits and materials
                                                   cited.



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                   Case 2:20-cv-10172-JXN-MAH             Document 102-1        Filed 07/06/21     Page 40 of 98
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                                                                                  •   Cipla’s and
                                                                                      Aurobindo’s Invalidity
                                                                                   • Contentions, including
                                                                                      exhibits and materials
                                                                                      cited.
                                                                                   • Cipla’s and
                                                                                      Aurobindo’s Notice
                                                                                      Letters.
                                                                                   • Cipla’s and
                                                                                      Aurobindo’s
                                                                                      Interrogatory
                                                                                      Responses, including
                                                                                      Cipla’s and
                                                                                      Aurobindo’s
                                                                                   • Responses to
                                                                                      Interrogatory Nos. 1-5.
                                                                                   • Expert opinions and/or
                                                                                      testimony regarding
                                                                                      how a person of
                                                                                      ordinary skill in the art
                                                                                      would understand the
                                                                                      meaning of this term
                                                                                      based on the disclosures
                                                                                      in the patent
                                                                                      specification, other
                                                                                      intrinsic evidence, and
                                                                                      the parties’ extrinsic
                                                                                      evidence.
9   “datum plane which    Plain and ordinary           “plane or line passing      U.S. Patent No. 10,086,156     Patents-in-Suit
    passes through a      meaning in view of the       through the bottom          • ’156 patent, claims 1,       generally, including but
    shoulder of a valve   claims, specification, and   surface of a structure into    13                          not limited to:
    stem block            prosecution history.         which the valve stem of a • ’156 patent, Abstract          • ’289 patent, 1:41-48
    configured to                                      medicament canister is      • ’156 patent, 4:46-65         • ’289 patent, 12:23-29


                                                                 -40-
               Case 2:20-cv-10172-JXN-MAH           Document 102-1           Filed 07/06/21     Page 41 of 98
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receive the          “a plane that passes        inserted, wherein the         •   ’156 patent, 11:4-12:10     •   ’289 patent, 13:40-
medicament           through a shoulder of the   bottom surface is where       •   ’156 patent, 12:15-39           15:32
canister”            portion of the inhaler      the valve stem block          •   ’156 patent, 13:55-         •   ’289 patent, Fig. 3A
                     body that engages the       meets a passageway to a           14:10                       •   ’289 patent, Fig. 9
’156 Patent, claim 1 valve stem and is           nozzle for directing the      •   ’156 patent, 14:16-26       •   ’156 patent, claims 1,
                     perpendicular to the        canister contents towards     •   ’156 patent, 14:42-49           13
                     direction of movement of    an air outlet”                •   ’156 patent, 14:50-61       •   ’156 patent, Abstract
                     the medicament canister”                                  •   ’156 patent, 14:62-         •   ’156 patent, 4:46-65
                                                                                   15:14                       •   ’156 patent, 11:4-
                                                                               •   ’156 patent, 15:15-33           12:10
                                                                               •   ’156 patent, Figs. 7A, 9,   •   ’156 patent, 12:15-39
                                                                                   10A-10F                     •   ’156 patent, 13:55-
                                                                                                                   14:10
                                                                               U.S. Patent Application         •   ’156 patent, 14:16-26
                                                                               No. 14/699,567 File             •   ’156 patent, 14:42-49
                                                                               History                         •   ’156 patent, 14:50-61
                                                                               • ’567 application,             •   ’156 patent, 14:62-
                                                                                  amended claims 1, 14             15:14
                                                                                  (Mar. 13, 2018)              •   ’156 patent, 15:15-33
                                                                               • ’567 application,             •   ’156 patent, Figs. 7A,
                                                                                  response 6-7 (Mar. 13,           9, 10A-10F
                                                                                  2018)
                                                                               • ’567 application, notice      U.S. Patent Application
                                                                                  of allowability 2 (May       No. 14/699,567 File
                                                                                  31, 2018)                    History generally,
                                                                                                               including but not
                                                                               Additional Evidence             limited to:
                                                                               Identified Pursuant to L.       • ’567 application,
                                                                               Pat. R. 4.2(c) Intrinsic            amended claims 1, 14
                                                                               Evidence                            (Mar. 13, 2018)
                                                                               • Evidence cited or relied
                                                                                  upon by Defendants,



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                                                    including the materials   •   ’567 application,
                                                    cited in Defendants’          response 6-7 (Mar.
                                                •   May 21, 2021 and June         13, 2018)
                                                    4, 2021 identifications   •   ’567 application,
                                                    of constructions and          notice of allowability
                                                    evidence pursuant to L.       (May 31, 2018)
                                                    Pat. R. 4.2(a)-(c).
                                                                              •   Plaintiffs’ Responses
                                                U.S. Application No.              to Invalidity
                                                13/110,532 File History           Contentions.
                                                • ’532 application,           •   Plaintiffs’ Disclosure
                                                   original claims 1-2            of Asserted Claims
                                                   (May 18, 2011)                 and Infringement
                                                • ’532 application, office        Contentions.
                                                   action 2-4 (June 28,       •   Expert opinions
                                                   2013)                          and/or testimony
                                                • ’532 application,               from Gregor
                                                   amended claims 1-2             Anderson regarding
                                                   (Sept. 26, 2013)               how a person of
                                                • ’532 application,               ordinary skill in the
                                                   response 4-6 (Sept. 26,        art would understand
                                                   2013)                          the meaning of this
                                                • ’532 application,               term in view of the
                                                   amended claims 1-2             specification,
                                                   (Nov. 27, 2013)                prosecution history,
                                                • ’532 application,               intrinsic record, and
                                                   response 4-6 (Nov. 27,         the parties’ extrinsic
                                                   2013)                          evidence.
                                                • ’532 application, office
                                                   action 2-5 (July 1,
                                                   2014)




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                                                •   ’532 application,
                                                    amended claims 1-2
                                                    (Sept. 30, 2014)
                                                •   ’532 application,
                                                    response 5-6 (Sept. 30,
                                                    2014)
                                                •   ’532 application, office
                                                    action 2-7 (Oct. 17,
                                                    2014)
                                                •   ’532 application,
                                                    amended claims 1-2
                                                    (Dec. 5, 2014)
                                                •   ’532 application,
                                                    response 6-8 (Dec. 5,
                                                    2014)
                                                •   ’532 application, notice
                                                    of allowance 2-3 (Jan.
                                                    21, 2015)

                                                Extrinsic Evidence
                                                • Evidence cited or relied
                                                   upon by Defendants,
                                                   including the materials
                                                   cited in Defendants’
                                                • May 21, 2021 and June
                                                   4, 2021 identifications
                                                   of constructions and
                                                   evidence pursuant to L.
                                                   Pat. R. 4.2(a)-(c).
                                                • Cipla’s and
                                                   Aurobindo’s Non-
                                                   Infringement
                                                   Contentions, including


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                                                    exhibits and materials
                                                    cited.
                                                •   Cipla’s and
                                                    Aurobindo’s Invalidity
                                                    Contentions, including
                                                    exhibits and materials
                                                    cited.
                                                •   Cipla’s and
                                                    Aurobindo’s Notice
                                                    Letters.
                                                •   Cipla’s and
                                                    Aurobindo’s
                                                    Interrogatory
                                                •   Responses, including
                                                    Cipla’s and
                                                    Aurobindo’s
                                                •   Responses to
                                                    Interrogatory Nos. 1-5.
                                                •   Expert opinions and/or
                                                    testimony regarding
                                                    how a person of
                                                    ordinary skill in the art
                                                    would understand the
                                                    meaning of this term
                                                    based on the disclosures
                                                    in the patent
                                                    specification, other
                                                    intrinsic evidence, and
                                                    the parties’ extrinsic
                                                    evidence.
                                                •   The American Heritage
                                                    Dictionary of the



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                                                                                        English Language 1623
                                                                                        (5th ed. 2018)
                                                                                    •   Dictionary of
                                                                                        Mechanical Engineering
                                                                                        101-02 (4th ed. 1996)
                                                                                    •   Merriam-Webster’s
                                                                                        Collegiate Dictionary
                                                                                        1153 (11th ed. 2003)
                                                                                    •   New Oxford American
                                                                                        Dictionary 1617 (3rd
                                                                                        ed. 2010)
                                                                                    •   Random House
                                                                                        Webster’s College
                                                                                        Dictionary 1197 (1998)
                                                                                    •   Webster’s New World
                                                                                        College Dictionary
                                                                                        1327 (4th ed. 1999)
                                                                                    •   Webster’s Third New
                                                                                        International Dictionary
                                                                                        of the English Language
                                                                                        Unabridged 2104
                                                                                        (2002)
                                                                                    •   U.S. Patent No.
                                                                                        6,640,805, Abstract,
                                                                                        3:31-61, 4:42-6:9, Figs.
                                                                                        1-9

10   “the body”           Plain and ordinary           This term is indefinite.     U.S. Patent No. 10,086,156     Patents-in-Suit
                          meaning in view of the                                    • ’156 patent, claims 1, 3-    generally, including but
     ’156 Patent, claim   claims, specification, and                                   5, 7, 9-12                  not limited to:
     12                   prosecution history.                                      • ’156 patent, Abstract        • ’156 patent, claims 1,
                                                                                    • ’156 patent, 1:27-40            3-5, 7, 9-12
                                                                                    • ’156 patent, 3:11-14         • ’156 patent, Abstract


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    “inhaler body” - ’156                       •   ’156 patent, 3:51-52      •   ’156 patent, 1:27-40
    Patent, 22:64, 67                           •   ’156 patent, 4:24-45      •   ’156 patent, 3:11-14
                                                •   ’156 patent, 4:46-65      •   ’156 patent, 3:51-52
    “dose counter body” -                       •   ’156 patent, 5:14-21      •   ’156 patent, 4:24-45
    ’156 Patent, 22:66                          •   ’156 patent, 5:59-65      •   ’156 patent, 4:46-65
                                                •   ’156 patent, 6:7-19       •   ’156 patent, 5:14-21
                                                •   ’156 patent, 6:20-23      •   ’156 patent, 5:59-65
                                                •   ’156 patent, 6:24-33      •   ’156 patent, 6:7-19
                                                •   ’156 patent, 6:34-43      •   ’156 patent, 6:20-23
                                                •   ’156 patent, 6:44-49      •   ’156 patent, 6:24-33
                                                •   ’156 patent 7:20-25       •   ’156 patent, 6:34-43
                                                •   ’156 patent, 7:26-35      •   ’156 patent, 6:44-49
                                                •   ’156 patent, 7:61-8:4     •   ’156 patent 7:20-25
                                                •   ’156 patent, 8:5-6        •   ’156 patent, 7:26-35
                                                •   ’156 patent, 8:13-18      •   ’156 patent, 7:61-8:4
                                                •   ’156 patent, 8:19-27      •   ’156 patent, 8:5-6
                                                •   ’156 patent, 8:28-37      •   ’156 patent, 8:13-18
                                                •   ’156 patent, 8:38-40      •   ’156 patent, 8:19-27
                                                •   ’156 patent, 8:41-47      •   ’156 patent, 8:28-37
                                                •   ’156 patent, 8:48-53      •   ’156 patent, 8:38-40
                                                •   ’156 patent, 9:15-21      •   ’156 patent, 8:41-47
                                                •   ’156 patent, 9:22-34      •   ’156 patent, 8:48-53
                                                •   ’156 patent, 10:32-40     •   ’156 patent, 9:15-21
                                                •   ’156 patent, 10:41-43     •   ’156 patent, 9:22-34
                                                •   ’156 patent, 10:44-46     •   ’156 patent, 10:32-40
                                                •   ’156 patent, 10:47-58     •   ’156 patent, 10:41-43
                                                •   ’156 patent, 10:59-11:2   •   ’156 patent, 10:44-46
                                                •   ’156 patent, 11:4-12:10   •   ’156 patent, 10:47-58
                                                •   ’156 patent, 12:15-18     •   ’156 patent, 10:59-
                                                •   ’156 patent, 12:19-39         11:2
                                                •   ’156 patent, 12:40-55



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                                                •   ’156 patent, 13:12-24      •   ’156 patent, 11:4-
                                                •   ’156 patent, 13:42-54          12:10
                                                •   ’156 patent, 14:11-15      •   ’156 patent, 12:15-18
                                                •   ’156 patent, 14:16-26      •   ’156 patent, 12:19-39
                                                •   ’156 patent, 15:34-54      •   ’156 patent, 12:40-55
                                                •   ’156 patent, 15:55-16:4    •   ’156 patent, 13:12-24
                                                •   ’156 patent, 16:7-9        •   ’156 patent, 13:42-54
                                                •   ’156 patent, 16:10-14      •   ’156 patent, 14:11-15
                                                •   ’156 patent, 16:15-28      •   ’156 patent, 14:16-26
                                                •   ’156 patent, 16:55-17:4    •   ’156 patent, 15:34-54
                                                •   ’156 patent, 17:12-23      •   ’156 patent, 15:55-
                                                •   ’156 patent, 17:24-61          16:4
                                                •   ’156 patent, Figs. 1-8D,   •   ’156 patent, 16:7-9
                                                    10A-10F, 14’               •   ’156 patent, 16:10-14
                                                                               •   ’156 patent, 16:15-28
                                                U.S. Patent Application        •   ’156 patent, 16:55-
                                                No. 14/699,567 File                17:4
                                                History                        •   ’156 patent, 17:12-23
                                                • ’567 application,            •   ’156 patent, 17:24-61
                                                   original claims 1, 2, 10,   •   ’156 patent, Figs. 1-
                                                   11                              8D, 10A-10F, 14
                                                • ’567 application, office
                                                   action 5-6 (June 17,        U.S. Patent Application
                                                   2016)                       No. 14/699,567 File
                                                • ’567 application,            History generally,
                                                   amended claims 1, 2, 4,     including but not
                                                   8-12 (Sept. 9, 2016)        limited to:
                                                • ’567 application,            • ’567 application,
                                                   response, 6-8 (Sept. 9,         original claims 1, 2,
                                                   2016)                           10, 11
                                                • ’567 application, office
                                                   action 6 (Oct. 20, 2016)


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                                                •   ’567 application,          •   ’567 application,
                                                    amended claims 1, 2, 4,        office action 5-6
                                                    8-12 (Feb. 21, 2017)           (June 17, 2016)
                                                •   ’567 application,          •   ’567 application,
                                                    response, 7-9 (Feb. 21,        amended claims 1, 2,
                                                    2017)                          4, 8-12 (Sept. 9,
                                                •   ’567 application,              2016)
                                                    amended claims 1, 2, 4,    •   ’567 application,
                                                    8-12 (Apr. 20, 2017)           response, 6-8 (Sept.
                                                •   ’567 application, office       9, 2016)
                                                    action 8 (May 22, 2017)    •   ’567 application,
                                                •   ’567 application,              office action 6 (Oct.
                                                    response, 6-9 (Feb. 21,        20, 2016)
                                                    2017)                      •   ’567 application,
                                                •   ’567 application,              amended claims 1, 2,
                                                    amended claims 1, 2, 4,        4, 8-12 (Feb. 21,
                                                    8-12 (Aug. 22, 2017)           2017)
                                                •   ’567 application,          •   ’567 application,
                                                    response, 5-9 (Aug. 22,        response, 7-9 (Feb.
                                                    2017)                          21, 2017)
                                                •   ’567 application, office   •   ’567 application,
                                                    action 10 (Sept. 13,           amended claims 1, 2,
                                                    2017)                          4, 8-12 (Apr. 20,
                                                •   ’567 application,              2017)
                                                    amended claims 1, 2, 4,    •   ’567 application,
                                                    8-12 (Mar. 13, 2018)           office action 8 (May
                                                •   ’567 application,              22, 2017)
                                                    response, 5-7 (Mar. 13,    •   ’567 application,
                                                    2018)                          response, 6-9 (Feb.
                                                •   ’567 application, notice       21, 2017)
                                                    of allowability, 2-3       •   ’567 application,
                                                    (May 31, 2018)                 amended claims 1, 2,



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                                                Additional Evidence                4, 8-12 (Aug. 22,
                                                Identified Pursuant to L.          2017)
                                                Pat. R. 4.2(c) Intrinsic       •   ’567 application,
                                                Evidence                           response, 5-9 (Aug.
                                                • Evidence cited or relied         22, 2017)
                                                   upon by Defendants,         •   ’567 application,
                                                   including the materials         office action 10
                                                   cited in Defendants’            (Sept. 13, 2017)
                                                • May 21, 2021 and June        •   ’567 application,
                                                   4, 2021 identification of       amended claims 1, 2,
                                                   constructions and               4, 8-12 (Mar. 13,
                                                   evidence pursuant to L.         2018)
                                                   Pat. R. 4.2(a)-(c).         •   ’567 application,
                                                                                   response, 5-7 (Mar.
                                                Extrinsic Evidence                 13, 2018)
                                                • Evidence cited or relied     •   ’567 application,
                                                   upon by Defendants,             notice of allowability,
                                                   including the materials         2-3 (May 31, 2018)
                                                   cited in Defendants’
                                                • May 21, 2021 and June        •   Defendant Cipla’s
                                                   4, 2021 identifications         Invalidity
                                                   of constructions and            Contentions
                                                   evidence pursuant to L.     •   Plaintiffs’ Responses
                                                   Pat. R. 4.2(a)-(c).             to Invalidity
                                                • Cipla’s and                      Contentions.
                                                   Aurobindo’s Non-            •   Plaintiffs’ Disclosure
                                                   Infringement                    of Asserted Claims
                                                   Contentions, including          and Infringement
                                                   exhibits and materials          Contentions.
                                                   cited.                      •   Expert opinions
                                                • Cipla’s and                      and/or testimony
                                                   Aurobindo’s Invalidity          from Gregor
                                                   Contentions, including          Anderson regarding


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                     Case 2:20-cv-10172-JXN-MAH             Document 102-1            Filed 07/06/21    Page 50 of 98
                                                             PageID: 3253



                                                                                           exhibits and materials         how a person of
                                                                                           cited.                         ordinary skill in the
                                                                                        • Cipla’s and                     art would understand
                                                                                           Aurobindo’s Notice             the meaning of this
                                                                                           Letters.                       term in view of the
                                                                                        • Cipla’s and                     specification,
                                                                                           Aurobindo’s                    prosecution history,
                                                                                           Interrogatory                  intrinsic record, and
                                                                                           Responses, including           the parties’ extrinsic
                                                                                           Cipla’s and                    evidence.
                                                                                           Aurobindo’s Responses
                                                                                           to Interrogatory Nos. 1-
                                                                                           5.
                                                                                        • Expert opinions and/or
                                                                                           testimony regarding
                                                                                           how a person of
                                                                                           ordinary skill in the art
                                                                                           would understand the
                                                                                           meaning of this term
                                                                                           based on the disclosures
                                                                                           in the patent
                                                                                           specification, other
                                                                                           intrinsic evidence, and
                                                                                           the parties’ extrinsic
                                                                                           evidence.
11   “counter display       Plain and ordinary            “structure displaying the     U.S. Patent No. 10,561,808     Patents-in-Suit
     arranged to indicate   meaning in view of the       total number of doses          • ’808 patent, claim 1         generally, including but
     dosage                 claims, specification, and   remaining in a                 • ’808 patent, claim 2         not limited to:
     information”           prosecution history.         medicament canister”           • ’808 patent, claim 4         • ’289 patent, 13:14-16
                                                                                        • ’808 patent, claim 27        • ’289 patent, 17:7-10
     ’808 Patent, claim 1 “a component of the dose                                      • ’808 patent, Abstract        • ’289 patent 21:1-4
                          counter that displays                                         • ’808 patent, 2:44-63         • ’808 patent, claim 1
                          information regarding the                                     • ’808 patent, 2:64-67         • ’808 patent, claim 2


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Case 2:20-cv-10172-JXN-MAH   Document 102-1   Filed 07/06/21    Page 51 of 98
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    number of doses                             •   ’808 patent, 3:1-3         •   ’808 patent, claim 4
    remaining”                                  •   ’808 patent, 4:39-5:3      •   ’808 patent, claim 27
                                                •   ’808 patent, 8:13-15       •   ’808 patent, Abstract
                                                •   ’808 patent, 8:31-50       •   ’808 patent, 2:44-63
                                                •   ’808 patent, 9:38-52       •   ’808 patent, 2:64-67
                                                •   ’808 patent, 11:4-12:10    •   ’808 patent, 3:1-3
                                                •   ’808 patent, 13:12-24      •   ’808 patent, 4:39-5:3
                                                •   ’808 patent, 14:27-31      •   ’808 patent, 8:13-15
                                                •   ’808 patent, 15:15-34      •   ’808 patent, 8:31-50
                                                •   ’808 patent, 17:5-11       •   ’808 patent, 9:38-52
                                                •   ’808 patent, 19:1-17       •   ’808 patent, 11:4-
                                                •   ’808 patent, 20:28-21:8        12:10
                                                •   ‘808 patent, Figs. 1-26    •   ’808 patent, 13:12-24
                                                                               •   ’808 patent, 14:27-31
                                                U.S. Patent Application        •   ’808 patent, 15:15-34
                                                No. 15/262,818 File            •   ’808 patent, 17:5-11
                                                History                        •   ’808 patent, 19:1-17
                                                • ’818 application,            •   ’808 patent, 20:28-
                                                   original claims 1, 2, 4,        21:8
                                                   27                          •   ‘808 patent, Figs. 1-
                                                • ’818 application, office         26
                                                   action 2-3 (Dec. 12,
                                                   2016)                       U.S. Patent Application
                                                • ’818 application,            No. 15/262,818 File
                                                   response, claims 1, 2, 4,   History generally,
                                                   27 (Mar. 15, 2017)          including but not
                                                • ’818 application, office     limited to:
                                                   action (Apr. 11, 2017)      • ’818 application,
                                                • ’818 application,                original claims 1, 2,
                                                   response, claims 1, 2, 4,       4, 27
                                                   27 (July 6, 2017)




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                                                •  ’818 application, office   •   ’818 application,
                                                   action (July 19, 2017)         office action 2-3
                                                • ’818 application,               (Dec. 12, 2016)
                                                   response, amended          •   ’818 application,
                                                   claim 1, original claims       response, claims 1, 2,
                                                   2, 4, 27 (Oct. 17, 2017)       4, 27 (Mar. 15, 2017)
                                                • ’818 application, office    •   ’818 application,
                                                   action (Oct. 25, 2017)         office action (Apr.
                                                • ’818 application,               11, 2017)
                                                   response (Jan. 19, 2018)   •   ’818 application,
                                                • ’818 application, appeal        response, claims 1, 2,
                                                   brief 2-3 (May 21,             4, 27 (July 6, 2017)
                                                   2018)                      •   ’818 application,
                                                • ’818 application,               office action (July 19,
                                                   examiner’s answer              2017)
                                                   (Aug. 7, 2018)             •   ’818 application,
                                                • ’818 application, reply         response, amended
                                                   brief (Oct. 4, 2018)           claim 1, original
                                                • ’818 application, Patent        claims 2, 4, 27 (Oct.
                                                   Trial and Appeal Board         17, 2017)
                                                   decision (Sept. 20,        •   ’818 application,
                                                   2019)                          office action (Oct. 25,
                                                U.S. Patent Application           2017)
                                                No. 13/110,532 File           •   ’818 application,
                                                History                           response (Jan. 19,
                                                • ’532 application,               2018)
                                                   original claim 19          •   ’818 application,
                                                • ’532 application, office        appeal brief 2-3 (May
                                                   action 3 (May 9, 2013)         21, 2018)
                                                • ’532 application,           •   ’818 application,
                                                   response (June 7, 2013)        examiner’s answer
                                                • ’532 application, office        (Aug. 7, 2018)
                                                   action (June 28, 2013)


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                                                •   ’532 application,          •   ’818 application,
                                                    amended claim 19               reply brief (Oct. 4,
                                                    (Sept. 26, 2013)               2018)
                                                •   ’532 application, office   •   ’818 application,
                                                    action (Oct. 10, 2013)         Patent Trial and
                                                •   ’532 application,              Appeal Board
                                                    amended claim 19               decision (Sept. 20,
                                                    (Nov. 27, 2013)                2019)
                                                •   ’532 application, office
                                                    action (Dec. 9, 2013)      U.S. Patent Application
                                                •   ’532 application, office   No. 13/110,532 File
                                                    action 4 (July 1, 2014)    History generally,
                                                •   ’532 application,          including but not
                                                    amended claim 19           limited to:
                                                    (Sept. 30, 2014)           • ’532 application,
                                                •   ’532 application, office       original claim 19
                                                    action (Oct. 17, 2014)     • ’532 application,
                                                •   ’532 application,              office action 3 (May
                                                    amended claim 19 (Dec.         9, 2013)
                                                    5, 2014)                   • ’532 application,
                                                                                   response (June 7,
                                                U.S. Patent Application            2013)
                                                No. 14/699,584 File            • ’532 application,
                                                History                            office action (June
                                                • ’584 application,                28, 2013)
                                                   original claims 6, 7, 8,    • ’532 application,
                                                   10, 33                          amended claim 19
                                                • ’584 application, office         (Sept. 26, 2013)
                                                   action (June 1, 2016)       • ’532 application,
                                                • ’584 application,                office action (Oct. 10,
                                                   response, original              2013)
                                                   claims 6, 33, amended
                                                   claim 7 (Sept. 1, 2016)


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                                                •  ’584 application, office   •   ’532 application,
                                                   action (Oct. 20, 2016)         amended claim 19
                                                • ’584 application,               (Nov. 27, 2013)
                                                   response (Jan. 23, 2017)   •   ’532 application,
                                                • ’584 application, office        office action (Dec. 9,
                                                   action (Feb. 9, 2017)          2013)
                                                • ’584 application,           •   ’532 application,
                                                   response, claims 7, 33         office action 4 (July
                                                   (Feb. 20, 2017)                1, 2014)
                                                Additional Evidence           •   ’532 application,
                                                Identified Pursuant to L.         amended claim 19
                                                Pat. R. 4.2(c) Intrinsic          (Sept. 30, 2014)
                                                Evidence                      •   ’532 application,
                                                • Evidence cited or relied        office action (Oct. 17,
                                                   upon by Defendants,            2014)
                                                   including the materials    •   ’532 application,
                                                   cited in Defendants            amended claim 19
                                                   May 21, 2021 and June          (Dec. 5, 2014)
                                                   4, 2021 identifications
                                                   of constructions and       U.S. Patent Application
                                                   evidence pursuant to L.    No. 14/699,584 File
                                                   Pat. R. 4.2(a)-(c).        History generally,
                                                Extrinsic Evidence            including but not
                                                • Evidence cited or relied    limited to:
                                                   upon by Defendants,        • ’584 application,
                                                   including the materials        original claims 6, 7,
                                                   cited in Defendants’           8, 10, 33
                                                • May 21, 2021 and June       • ’584 application,
                                                   4, 2021 identifications        office action (June 1,
                                                   of constructions and           2016)
                                                   evidence pursuant to L.    • ’584 application,
                                                   Pat. R. 4.2(a)-(c).            response, original
                                                                                  claims 6, 33,


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                                                •   Cipla’s and                     amended claim 7
                                                    Aurobindo’s Non-                (Sept. 1, 2016)
                                                    Infringement                •   ’584 application,
                                                    Contentions, including          office action (Oct. 20,
                                                    exhibits and materials          2016)
                                                    cited.                      •   ’584 application,
                                                •   Cipla’s and                     response (Jan. 23,
                                                    Aurobindo’s Invalidity          2017)
                                                    Contentions, including      •   ’584 application,
                                                    exhibits and materials          office action (Feb. 9,
                                                    cited.                          2017)
                                                •   Cipla’s and                 •   ’584 application,
                                                    Aurobindo’s Notice              response, claims 7,
                                                    Letters.                        33 (Feb. 20, 2017)
                                                •   Cipla’s and
                                                    Aurobindo’s                 •   Plaintiffs’ Responses
                                                    Interrogatory                   to Invalidity
                                                    Responses, including            Contentions.
                                                    Cipla’s and                 •   Plaintiffs’ Disclosure
                                                    Aurobindo’s Responses           of Asserted Claims
                                                    to Interrogatory Nos. 1-        and Infringement
                                                    5.                              Contentions.
                                                •   Expert opinions and/or      •   Expert opinions
                                                    testimony regarding             and/or testimony
                                                    how a person of                 from Gregor
                                                    ordinary skill in the art       Anderson regarding
                                                    would understand the            how a person of
                                                    meaning of this term            ordinary skill in the
                                                    based on the disclosures        art would understand
                                                    in the patent                   the meaning of this
                                                    specification, other            term in view of the
                                                    intrinsic evidence, and         specification,
                                                                                    prosecution history,


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                                                                                        the parties’ extrinsic        intrinsic record, and
                                                                                        evidence.                     the parties’ extrinsic
                                                                                     • Merriam -Webster’s             evidence.
                                                                                        Collegiate Dictionary
                                                                                        641 (11th ed 2003)
                                                                                     • Webster’s New World
                                                                                        College Dictionary 733
                                                                                        (4th ed. 1999)
                                                                                     • Merriam-Webster
                                                                                        Dictionary 254 (2005)
                                                                                        New Oxford American
                                                                                        Dictionary 891 (3d ed.
                                                                                        2010)
                                                                                     • Webster’s Third New
                                                                                        International Dictionary
                                                                                        Unabridged 1160
                                                                                        (2002)
12   “first station”      Plain and ordinary           “first structure on which     U.S. Patent No. 10,561,808    Patents-in-Suit
                          meaning in view of the       the counter display is        • ’808 patent, claim 1        generally, including but
     ’808 Patent, claim 1 claims, specification, and   located”                      • ’808 patent, claim 2        not limited to:
                          prosecution history.                                       • ’808 patent, claim 4        • ’289 patent, 2:65-67
                                                                                     • ’808 patent, claim 23       • ’289 patent, 3:47-56
                           “a first region”                                          • ’808 patent, Abstract       • ’289 patent, 5:35-38
                                                                                     • ’808 patent, 2:44-3:3       • ’289 patent, 8:54-67
                                                                                     • ’808 patent, 3:50-53        • ’289 patent, 13:10-22
                                                                                     • ’808 patent, 11:4-12:10     • ’289 patent, 16:28-53
                                                                                     • ’808 patent, Figs. 1-26     • ’808 patent, claim 1
                                                                                                                   • ’808 patent, claim 2
                                                                                     U.S. Patent Application       • ’808 patent, claim 4
                                                                                     No. 15/262,818 File           • ’808 patent, claim 23
                                                                                     History                       • ’808 patent, Abstract
                                                                                                                   • ’808 patent, 2:44-3:3


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                                                •   ’818 application,           •   ’808 patent, 3:50-53
                                                    original claims 1, 2, 4,    •   ’808 patent, 11:4-
                                                    23                              12:10
                                                •   ’818 application, office    •   ’808 patent, Figs. 1-
                                                    action 2 (Dec. 12, 2016)        26
                                                •   ’818 application,
                                                    response, claims 1, 2, 4,   U.S. Patent Application
                                                    23 (Mar. 15, 2017)          No. 15/262,818 File
                                                •   ’818 application, office    History generally,
                                                    action (Apr. 11, 2017)      including but not
                                                •   ’818 application,           limited to:
                                                    response, claims 1, 2, 4,   • ’818 application,
                                                    23 (July 6, 2017)               original claims 1, 2,
                                                •   ’818 application, office        4, 23
                                                    action (July 19, 2017)      • ’818 application,
                                                •   ’818 application,               office action 2 (Dec.
                                                    response, amended               12, 2016)
                                                    claim 1, original claims    • ’818 application,
                                                    2, 4, 23 (Oct. 17, 2017)        response, claims 1, 2,
                                                •   ’818 application, office        4, 23 (Mar. 15, 2017)
                                                    action (Oct. 25, 2017)      • ’818 application,
                                                •   ’818 application,               office action (Apr.
                                                    response (Jan. 19, 2018)        11, 2017)
                                                •   ’818 application, appeal    • ’818 application,
                                                    brief (May 21, 2018)            response, claims 1, 2,
                                                •   ’818 application,               4, 23 (July 6, 2017)
                                                    examiner’s answer           • ’818 application,
                                                    (Aug. 7, 2018)                  office action (July 19,
                                                •   ’818 application, reply         2017)
                                                    brief (Oct. 4, 2018)        • ’818 application,
                                                •   ’818 application, Patent        response, amended
                                                    Trial and Appeal Board          claim 1, original



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                                                   decision (Sept. 20,           claims 2, 4, 23 (Oct.
                                                   2019)                         17, 2017)
                                                                             •   ’818 application,
                                                U.S. Patent Application          office action (Oct. 25,
                                                No. 13/110,532 File              2017)
                                                History                      •   ’818 application,
                                                • ’532 application,              response (Jan. 19,
                                                   original claim 19             2018)
                                                • ’532 application, office   •   ’818 application,
                                                   action (May 9, 2013)          appeal brief (May 21,
                                                • ’532 application,              2018)
                                                   response (June 7, 2013)   •   ’818 application,
                                                • ’532 application, office       examiner’s answer
                                                   action (June 28, 2013)        (Aug. 7, 2018)
                                                • ’532 application,          •   ’818 application,
                                                   amended claim 19              reply brief (Oct. 4,
                                                   (Sept. 26, 2013)              2018)
                                                • ’532 application, office   •   ’818 application,
                                                   action (Oct. 10, 2013)        Patent Trial and
                                                • ’532 application,              Appeal Board
                                                   amended claim 19              decision (Sept. 20,
                                                   (Nov. 27, 2013)               2019)
                                                • ’532 application, office
                                                   action (Dec. 9, 2013)     U.S. Patent Application
                                                • ’532 application, office   No. 13/110,532 File
                                                   action 4 (July 1, 2014)   History generally,
                                                • ’532 application,          including but not
                                                   amended claim 19          limited to:
                                                   (Sept. 30, 2014)          • ’532 application,
                                                • ’532 application, office       original claim 19
                                                   action (Oct. 17, 2014)    • ’532 application,
                                                                                 office action (May 9,
                                                                                 2013)


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                                                •  ’532 application,        •    ’532 application,
                                                   amended claim 19 (Dec.        response (June 7,
                                                   5, 2014)                      2013)
                                                                            •    ’532 application,
                                                U.S. Patent Application          office action (June
                                                No. 14/699,584 File              28, 2013)
                                                History                     •    ’532 application,
                                                • ’584 application,              amended claim 19
                                                   original claims 6, 7, 8,      (Sept. 26, 2013)
                                                   10, 29                   •    ’532 application,
                                                • ’584 application, office       office action (Oct. 10,
                                                   action (June 1, 2016)         2013)
                                                • ’584 application,         •    ’532 application,
                                                   response, original claim      amended claim 19
                                                   6 and amended claims          (Nov. 27, 2013)
                                                   7, 29 (Sept. 1, 2016)    •    ’532 application,
                                                • ’584 application, office       office action (Dec. 9,
                                                   action (Oct. 20, 2016)        2013)
                                                • ’584 application,         •    ’532 application,
                                                   response (Jan. 23, 2017)      office action 4 (July
                                                • ’584 application, office       1, 2014)
                                                   action (Feb. 9, 2017)    •    ’532 application,
                                                • ’584 application,              amended claim 19
                                                   response, claims 7, 29        (Sept. 30, 2014)
                                                   (Feb. 20, 2017)          •    ’532 application,
                                                                                 office action (Oct. 17,
                                                Additional Evidence              2014)
                                                Identified Pursuant to L.    •   ’532 application,
                                                Pat. R. 4.2(c) Intrinsic         amended claim 19
                                                Evidence                         (Dec. 5, 2014)
                                                • Evidence cited or relied
                                                   upon by Defendants,       U.S. Patent Application
                                                   including the materials   No. 14/699,584 File


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                              PageID: 3263



                                                   cited in Defendants’      History generally,
                                                   May 21, 2021 and June     including but not
                                                   4, 2021 identifications   limited to:
                                                   of constructions and      • ’584 application,
                                                   evidence pursuant to L.       original claims 6, 7,
                                                   Pat. R. 4.2(a)-(c).           8, 10, 29
                                                                             • ’584 application,
                                                Extrinsic Evidence               office action (June 1,
                                                • Evidence cited or relied       2016)
                                                   upon by Defendants,       • ’584 application,
                                                   including the materials       response, original
                                                   cited in Defendants’          claim 6 and amended
                                                   May 21, 2021 and June         claims 7, 29 (Sept. 1,
                                                   4, 2021 identifications       2016)
                                                   of constructions and      • ’584 application,
                                                   evidence pursuant to L.       office action (Oct. 20,
                                                   Pat. R. 4.2(a)-(c).           2016)
                                                • Cipla’s and                • ’584 application,
                                                   Aurobindo’s Non-              response (Jan. 23,
                                                   Infringement                  2017)
                                                   Contentions, including    • ’584 application,
                                                   exhibits and materials        office action (Feb. 9,
                                                   cited.                        2017)
                                                • Cipla’s and                • ’584 application,
                                                   Aurobindo’s Invalidity        response, claims 7,
                                                   Contentions, including        29 (Feb. 20, 2017)
                                                   exhibits and materials
                                                   cited.                    •   Plaintiffs’ Responses
                                                • Cipla’s and                    to Invalidity
                                                   Aurobindo’s Notice            Contentions.
                                                   Letters.                  •   Plaintiffs’ Disclosure
                                                                                 of Asserted Claims



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                                                           PageID: 3264



                                                                                  •   Cipla’s and                     and Infringement
                                                                                      Aurobindo’s                     Contentions
                                                                                      Interrogatory               •   Expert opinions
                                                                                  •   Responses, including            and/or testimony
                                                                                      Cipla’s and                     from Gregor
                                                                                      Aurobindo’s                     Anderson regarding
                                                                                  •   Responses to                    how a person of
                                                                                      Interrogatory Nos. 1-5.         ordinary skill in the
                                                                                      Expert opinions and/or          art would understand
                                                                                      testimony regarding             the meaning of this
                                                                                      how a person of                 term in view of the
                                                                                      ordinary skill in the art       specification,
                                                                                      would understand the            prosecution history,
                                                                                      meaning of this term            intrinsic record, and
                                                                                      based on the disclosures        the parties’ extrinsic
                                                                                      in the patent                   evidence.
                                                                                      specification, other
                                                                                      intrinsic evidence, and
                                                                                      the parties’ extrinsic
                                                                                      evidence.

13   “second station”     Plain and ordinary           “second structure,         U.S. Patent No. 10,561,808      Patents-in-Suit
                          meaning in view of the       separate from the first    • ’808 patent, claim 1          generally, including but
     ’808 Patent, claim 1 claims, specification, and   structure, to which the    • ’808 patent, claim 2          not limited to:
                          prosecution history.         [counter display as        • ’808 patent, claim 4          • ’289 patent, 2:65-67
                                                       construed by Defendants]   • ’808 patent, claim 23         • ’289 patent, 3:47-56
                           “a second region”           is moved”                  • ’808 patent, Abstract         • ’289 patent, 5:35-38
                                                                                  • ’808 patent, 2:44-3:3         • ’289 patent, 8:54-67
                                                                                  • ’808 patent, 3:50-53          • ’289 patent, 13:10-22
                                                                                  • ’808 patent, 11:4-12:10       • ’289 patent, 16:28-53
                                                                                  • ’808 patent, Figs. 1-26       • ’808 patent, claim 1
                                                                                                                  • ’808 patent, claim 2
                                                                                                                  • ’808 patent, claim 4


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                                                U.S. Patent Application        •   ’808 patent, claim 23
                                                No. 15/262,818 File            •   ’808 patent, Abstract
                                                History                        •   ’808 patent, 2:44-3:3
                                                • ’818 application,            •   ’808 patent, 3:50-53
                                                   original claims 1, 2, 4,    •   ’808 patent, 11:4-
                                                   23                              12:10
                                                • ’818 application, office     •   ’808 patent, Figs. 1-
                                                   action 2 (Dec. 12, 2016)        26
                                                • ’818 application,
                                                   response, claims 1, 2, 4,   U.S. Patent Application
                                                   23 (Mar. 15, 2017)          No. 15/262,818 File
                                                • ’818 application, office     History generally,
                                                   action (Apr. 11, 2017)      including but not
                                                • ’818 application,            limited to:
                                                   response, claims 1, 2, 4,   • ’818 application,
                                                   23 (July 6, 2017)               original claims 1, 2,
                                                • ’818 application, office         4, 23
                                                   action (July 19, 2017)      • ’818 application,
                                                • ’818 application,                office action 2 (Dec.
                                                   response, amended               12, 2016)
                                                   claim 1, original claims    • ’818 application,
                                                   2, 4, 23 (Oct. 17, 2017)        response, claims 1, 2,
                                                • ’818 application, office         4, 23 (Mar. 15, 2017)
                                                   action (Oct. 25, 2017)      • ’818 application,
                                                • ’818 application,                office action (Apr.
                                                   response (Jan. 19, 2018)        11, 2017)
                                                • ’818 application, appeal     • ’818 application,
                                                   brief (May 21, 2018)            response, claims 1, 2,
                                                • ’818 application,                4, 23 (July 6, 2017)
                                                   examiner’s answer           • ’818 application,
                                                   (Aug. 7, 2018)                  office action (July 19,
                                                • ’818 application, reply          2017)
                                                   brief (Oct. 4, 2018)


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                                                •  ’818 application, Patent   •   ’818 application,
                                                   Trial and Appeal Board         response, amended
                                                   decision (Sept. 20,            claim 1, original
                                                   2019)                          claims 2, 4, 23 (Oct.
                                                U.S. Patent Application           17, 2017)
                                                No. 13/110,532 File           •   ’818 application,
                                                History                           office action (Oct. 25,
                                                • ’532 application,               2017)
                                                   original claim 19          •   ’818 application,
                                                • ’532 application, office        response (Jan. 19,
                                                   action (May 9, 2013)           2018)
                                                • ’532 application,           •   ’818 application,
                                                   response (June 7, 2013)        appeal brief (May 21,
                                                • ’532 application, office        2018)
                                                   action (June 28, 2013)     •   ’818 application,
                                                • ’532 application,               examiner’s answer
                                                   amended claim 19               (Aug. 7, 2018)
                                                   (Sept. 26, 2013)           •   ’818 application,
                                                • ’532 application, office        reply brief (Oct. 4,
                                                   action (Oct. 10, 2013)         2018)
                                                • ’532 application,           •   ’818 application,
                                                   amended claim 19               Patent Trial and
                                                   (Nov. 27, 2013)                Appeal Board
                                                • ’532 application, office        decision (Sept. 20,
                                                   action (Dec. 9, 2013)          2019)
                                                • ’532 application, office
                                                   action 4 (July 1, 2014)    U.S. Patent Application
                                                • ’532 application,           No. 13/110,532 File
                                                   amended claim 19           History generally,
                                                   (Sept. 30, 2014)           including but not
                                                • ’532 application, office    limited to:
                                                   action (Oct. 17, 2014)     • ’532 application,
                                                                                  original claim 19


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                                                •  ’532 application,        •    ’532 application,
                                                   amended claim 19 (Dec.        office action (May 9,
                                                   5, 2014)                      2013)
                                                                            •    ’532 application,
                                                U.S. Patent Application          response (June 7,
                                                No. 14/699,584 File              2013)
                                                History                     •    ’532 application,
                                                • ’584 application,              office action (June
                                                   original claims 6, 7, 8,      28, 2013)
                                                   10, 29                   •    ’532 application,
                                                • ’584 application, office       amended claim 19
                                                   action (June 1, 2016)         (Sept. 26, 2013)
                                                • ’584 application,         •    ’532 application,
                                                   response, original claim      office action (Oct. 10,
                                                   6, amended claims 7, 29       2013)
                                                   (Sept. 1, 2016)          •    ’532 application,
                                                • ’584 application, office       amended claim 19
                                                   action (Oct. 20, 2016)        (Nov. 27, 2013)
                                                • ’584 application,         •    ’532 application,
                                                   response (Jan. 23, 2017)      office action (Dec. 9,
                                                • ’584 application, office       2013)
                                                   action (Feb. 9, 2017)    •    ’532 application,
                                                • ’584 application,              office action 4 (July
                                                   response, claims 7, 29        1, 2014)
                                                   (Feb. 20, 2017)          •    ’532 application,
                                                                                 amended claim 19
                                                Additional Evidence              (Sept. 30, 2014)
                                                Identified Pursuant to L.    •   ’532 application,
                                                Pat. R. 4.2(c) Intrinsic         office action (Oct. 17,
                                                Evidence                         2014)
                                                • Evidence cited or relied   •   ’532 application,
                                                   upon by Defendants,           amended claim 19
                                                   including the materials       (Dec. 5, 2014)


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                                                   cited in Defendants’      U.S. Patent Application
                                                   May 21, 2021 and June     No. 14/699,584 File
                                                   4, 2021 identifications   History generally,
                                                   of constructions and      including but not
                                                   evidence pursuant to L.   limited to:
                                                   Pat. R. 4.2(a)-(c).       • ’584 application,
                                                                                 original claims 6, 7,
                                                Extrinsic Evidence               8, 10, 29
                                                • Evidence cited or relied   • ’584 application,
                                                   upon by Defendants,           office action (June 1,
                                                   including the materials       2016)
                                                   cited in Defendants’      • ’584 application,
                                                   May 21, 2021 and June         response, original
                                                   4, 2021 identifications       claim 6, amended
                                                   of constructions and          claims 7, 29 (Sept. 1,
                                                   evidence pursuant to L.       2016)
                                                   Pat. R. 4.2(a)-(c).       • ’584 application,
                                                • Cipla’s and                    office action (Oct. 20,
                                                   Aurobindo’s Non-              2016)
                                                   Infringement              • ’584 application,
                                                   Contentions, including        response (Jan. 23,
                                                   exhibits and materials        2017)
                                                   cited.                    • ’584 application,
                                                • Cipla’s and                    office action (Feb. 9,
                                                   Aurobindo’s Invalidity        2017)
                                                   Contentions, including    • ’584 application,
                                                   exhibits and materials        response, claims 7,
                                                   cited.                        29 (Feb. 20, 2017)
                                                • Cipla’s and
                                                   Aurobindo’s Notice        •   Plaintiffs’ Responses
                                                   Letters.                      to Invalidity
                                                • Cipla’s and                    Contentions.
                                                   Aurobindo’s


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                                                           PageID: 3269



                                                                                       Interrogatory               •  Plaintiffs’ Disclosure
                                                                                       Responses, including           of Asserted Claims
                                                                                       Cipla’s and                    and Infringement
                                                                                       Aurobindo’s                    Contentions.
                                                                                    • Responses to                 • Expert opinions
                                                                                       Interrogatory Nos. 1-5.        and/or testimony
                                                                                       Expert opinions and/or         from Gregor
                                                                                       testimony regarding            Anderson regarding
                                                                                       how a person of                how a person of
                                                                                       ordinary skill in the art      ordinary skill in the
                                                                                       would understand the           art would understand
                                                                                       meaning of this term           the meaning of this
                                                                                       based on the disclosures       term in view of the
                                                                                       in the patent                  specification,
                                                                                       specification, other           prosecution history,
                                                                                       intrinsic evidence, and        intrinsic record, and
                                                                                       the parties’ extrinsic         the parties’ extrinsic
                                                                                       evidence.                      evidence
14   “different sides”    Plain and ordinary           “distinct surfaces where     U.S. Patent No. 10,695,512     Patents-in-Suit
                          meaning in view of the       each pin/aperture of the     • ’512 patent, claims 1, 6     generally, including but
     ’512 Patent, claim 1 claims, specification, and   chassis connects to a        • ’512 patent, 11:4-12:10      not limited to:
                          prosecution history.         different face of the        • ’512 patent, 11:39-41        • ’289 patent, Figs. 6A-
                                                       body”                        • ’512 patent, 11:56-64           6B
                           “not the same side”                                      • ’512 patent, 12:40-55        • ’289 patent, Figs. 8A-
                                                                                    • ’512 patent, 15:55-16:4         8C
                                                                                    • ’512 patent, 17:62-          • ’512 patent, claims 1,
                                                                                       18:10                          6
                                                                                    • ’512 patent, 20:10-13        • ’512 patent, 11:4-
                                                                                    • ’512 patent, Figs. 1-26         12:10
                                                                                                                   • ’512 patent, 11:39-41
                                                                                    U.S. Patent Application        • ’512 patent, 11:56-64
                                                                                    No. 15/804,735 File            • ’512 patent, 12:40-55
                                                                                    History


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                                                •   ’735 application,          •   ’512 patent, 15:55-
                                                    preliminary amendment,         16:4
                                                    claims 23, 28 (Nov. 8,     •   ’512 patent, 17:62-
                                                    2017)                          18:10
                                                •   ’735 application, office   •   ’512 patent, 20:10-13
                                                    action (Nov. 4, 2019)      •   ’512 patent, Figs. 1-
                                                •   ’735 application,              26
                                                    response, terminal
                                                    disclaimer (Jan. 31,       U.S. Patent Application
                                                    2020)                      No. 15/804,735 File
                                                •   ’735 application, notice   History generally,
                                                    of allowance (Feb. 24,     including but not limited
                                                    2020)                      to:
                                                                               • ’735 application,
                                                U.S. Patent Application            preliminary
                                                No. 15/289,553 File                amendment, claims
                                                History                            23, 28 (Nov. 8, 2017)
                                                • ’553 application,            • ’735 application,
                                                   original claims 7               office action (Nov. 4,
                                                • ’553 application, office         2019)
                                                   action (Dec. 19, 2016)      • ’735 application,
                                                • ’553 application,                response, terminal
                                                   response, amended               disclaimer (Jan. 31,
                                                   claim 1 (Mar. 17, 2017)         2020)
                                                • ’553 application,            • ’735 application,
                                                   terminal disclaimer             notice of allowance
                                                   (Apr. 6, 2017)                  (Feb. 24, 2020)
                                                • ’553 application, notice
                                                   of allowance (Apr. 21,      U.S. Patent Application
                                                   2017)                       No. 15/289,553 File
                                                                               History generally,
                                                                               including but not
                                                                               limited to:


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                                                U.S. Patent Application      •   ’553 application,
                                                No. 14/713,643 File              original claims 7
                                                History                      •   ’553 application,
                                                • ’643 application,              office action (Dec.
                                                   response, amended             19, 2016)
                                                   claim 1                   •   ’553 application,
                                                • ’643 application, notice       response, amended
                                                   of allowance (Oct. 13,        claim 1 (Mar. 17,
                                                   2016)                         2017)
                                                                             •   ’553 application,
                                                Additional Evidence              terminal disclaimer
                                                Identified Pursuant to L.        (Apr. 6, 2017)
                                                Pat. R. 4.2(c) Intrinsic     •   ’553 application,
                                                Evidence                         notice of allowance
                                                • Evidence cited or relied       (Apr. 21, 2017)
                                                   upon by Defendants,
                                                   including the materials   U.S. Patent Application
                                                   cited in Defendants’      No. 14/713,643 File
                                                   May 21, 2021 and June     History generally,
                                                   4, 2021 identifications   including but not
                                                   of constructions and      limited to:
                                                   evidence pursuant to L.   • ’643 application,
                                                   Pat. R. 4.2(a)-(c).           response, amended
                                                                                 claim 1
                                                U.S. Patent Application      • ’643 application,
                                                No. 14/713,643 File              notice of allowance
                                                History                          (Oct. 13, 2016)
                                                • ’643 application,
                                                   response, amended         •   U.S. Patent
                                                   claim 1                       Application No.
                                                • ’643 application, notice       2012/0006322
                                                   of allowance (Oct. 13,
                                                   2016)


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                                                Extrinsic Evidence           •   Plaintiffs’ Responses
                                                • Evidence cited or relied       to Invalidity
                                                   upon by Defendants,           Contentions.
                                                   including the materials   •   Plaintiffs’ Disclosure
                                                   cited in Defendants’          of Asserted Claims
                                                   May 21, 2021 and June         and Infringement
                                                   4, 2021 identifications       Contentions.
                                                   of constructions and      •   Expert opinions
                                                   evidence pursuant to L.       and/or testimony
                                                   Pat. R. 4.2(a)-(c).           from Gregor
                                                • Cipla’s and                    Anderson regarding
                                                   Aurobindo’s Non-              how a person of
                                                   Infringement                  ordinary skill in the
                                                   Contentions, including        art would understand
                                                   exhibits and materials        the meaning of this
                                                   cited.                        term in view of the
                                                • Cipla’s and                    specification,
                                                   Aurobindo’s Invalidity        prosecution history,
                                                   Contentions, including        intrinsic record, and
                                                   exhibits and materials        the parties’ extrinsic
                                                   cited.                        evidence.
                                                • Cipla’s and
                                                   Aurobindo’s Notice
                                                   Letters.
                                                • Cipla’s and
                                                   Aurobindo’s
                                                   Interrogatory
                                                • Responses, including
                                                   Cipla’s and
                                                   Aurobindo’s
                                                • Responses to
                                                   Interrogatory Nos. 1-5.



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                                                                                      •  Expert opinions and/or
                                                                                         testimony regarding
                                                                                         how a person of
                                                                                         ordinary skill in the art
                                                                                         would understand the
                                                                                         meaning of this term
                                                                                         based on the disclosures
                                                                                         in the patent
                                                                                         specification, other
                                                                                         intrinsic evidence, and
                                                                                         the parties’ extrinsic
                                                                                         evidence.
15   “formed in the       Plain and ordinary           “an integrated part of the     U.S. Patent No. 10,695,512     Patents-in-Suit
     body”                meaning in view of the       body”                          • ’512 patent, claims 1, 2     generally, including but
                          claims, specification, and                                  • ’512 patent, Abstract        not limited to:
     ’512 Patent, claim 2 prosecution history.                                        • ’512 patent, 1:30-43         • ’289 patent, 12:39-53
                                                                                      • ’512 patent, 1:14-17         • ’289 patent, Figs. 7C,
                           “located in the body”                                      • ’512 patent, 3:14-17            7D
                                                                                      • ’512 patent, 3:18-36         • ’512 patent, claims 1,
                                                                                      • ’512 patent, 3:54-59            2
                                                                                      • ’512 patent, 4:51-5:3        • ’512 patent, Abstract
                                                                                      • ’512 patent, 5:19-26         • ’512 patent, 1:30-43
                                                                                      • ’512 patent, 5:64-6:3        • ’512 patent, 1:14-17
                                                                                      • ’512 patent, 6:12-23         • ’512 patent, 3:14-17
                                                                                      • ’512 patent, 6:24-27         • ’512 patent, 3:18-36
                                                                                      • ’512 patent, 6:28-37         • ’512 patent, 3:54-59
                                                                                      • ’512 patent, 6:38-47         • ’512 patent, 4:51-5:3
                                                                                      • ’512 patent, 6:48-53         • ’512 patent, 5:19-26
                                                                                      • ’512 patent, 7:21-23         • ’512 patent, 5:64-6:3
                                                                                      • ’512 patent, 7:30-39         • ’512 patent, 6:12-23
                                                                                      • ’512 patent, 7:65-8:8        • ’512 patent, 6:24-27
                                                                                      • ’512 patent, 8:9-10          • ’512 patent, 6:28-37


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                                                •   ’512 patent, 8:16-21      •   ’512 patent, 6:38-47
                                                •   ’512 patent, 8:22-30      •   ’512 patent, 6:48-53
                                                •   ’512 patent, 8:31-40      •   ’512 patent, 7:21-23
                                                •   ’512 patent, 8:51-56      •   ’512 patent, 7:30-39
                                                •   ’512 patent, 9:18-24      •   ’512 patent, 7:65-8:8
                                                •   ’512 patent, 9:25-37      •   ’512 patent, 8:9-10
                                                •   ’512 patent, 10:33-41     •   ’512 patent, 8:16-21
                                                •   ’512 patent, 10:42-44     •   ’512 patent, 8:22-30
                                                •   ’512 patent, 10:45-47     •   ’512 patent, 8:31-40
                                                •   ’512 patent, 10:48-58     •   ’512 patent, 8:51-56
                                                •   ’512 patent, 10:59-11:2   •   ’512 patent, 9:18-24
                                                •   ’512 patent, 11:4-12:10   •   ’512 patent, 9:25-37
                                                •   ’512 patent, 12:15-18     •   ’512 patent, 10:33-41
                                                •   ’512 patent, 12:19-39     •   ’512 patent, 10:42-44
                                                •   ’512 patent, 12:40-57     •   ’512 patent, 10:45-47
                                                •   ’512 patent, 13:12-24     •   ’512 patent, 10:48-58
                                                •   ’512 patent, 13:42-54     •   ’512 patent, 10:59-
                                                •   ’512 patent, 14:11-15         11:2
                                                •   ’512 patent, 14:16-26     •   ’512 patent, 11:4-
                                                •   ’512 patent, 15:34-54         12:10
                                                •   ’512 patent, 15:55-16:4   •   ’512 patent, 12:15-18
                                                •   ’512 patent, 16:7-10      •   ’512 patent, 12:19-39
                                                •   ’512 patent, 16:15-28     •   ’512 patent, 12:40-57
                                                •   ’512 patent, 16:55-17:4   •   ’512 patent, 13:12-24
                                                •   ’512 patent, 17:12-23     •   ’512 patent, 13:42-54
                                                •   ’512 patent, 17:24-61     •   ’512 patent, 14:11-15
                                                •   ’512 patent, 19:18-28     •   ’512 patent, 14:16-26
                                                •   ’512 patent, Figs. 1-26   •   ’512 patent, 15:34-54
                                                                              •   ’512 patent, 15:55-
                                                U.S. Patent Application           16:4
                                                No. 15/804,735 File           •   ’512 patent, 16:7-10
                                                History                       •   ’512 patent, 16:15-28


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                                                •   ’735 application,          •   ’512 patent, 16:55-
                                                    preliminary amendment,         17:4
                                                    claim 24 (Nov. 8, 2017)    •   ’512 patent, 17:12-23
                                                •   ’735 application, office   •   ’512 patent, 17:24-61
                                                    action (Nov. 4, 2019)      •   ’512 patent, 19:18-28
                                                •   ’735 application,          •   ’512 patent, Figs. 1-
                                                    response, terminal             26
                                                    disclaimer (Jan. 31,
                                                    2020)                      U.S. Patent Application
                                                •   ’735 application, notice   No. 15/804,735 File
                                                    of allowance (Feb. 24,     History generally,
                                                    2020)                      including but not
                                                                               limited to:
                                                U.S. Patent Application        • ’735 application,
                                                No. 14/713,643 File                preliminary
                                                 History                           amendment, claim 24
                                                • ’643 application,                (Nov. 8, 2017)
                                                   original claims 1-3, 5      • ’735 application,
                                                • ’643 application, office         office action (Nov. 4,
                                                   action (July 12, 2016)          2019)
                                                • ’643 application,            • ’735 application,
                                                   response, amended               response, terminal
                                                   claim 1, original claims        disclaimer (Jan. 31,
                                                   2, 5 (Sept. 28, 2016)           2020)
                                                • ’643 application, notice     • ’735 application,
                                                   of allowance (Oct. 13,          notice of allowance
                                                   2016)                           (Feb. 24, 2020)

                                                U.S. Patent Application        U.S. Patent Application
                                                No. 15/289,553 File            No. 14/713,643 File
                                                History                        History generally,
                                                • ’553 application,            including but not
                                                   original claims 1-7         limited to:


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                                                •   ’553 application, office   •   ’643 application,
                                                    action (Dec. 19, 2016)         original claims 1-3, 5
                                                •   ’553 application,          •   ’643 application,
                                                    response, amended              office action (July 12,
                                                    claim 1, original claims       2016)
                                                    3-4 (Mar. 17, 2017)        •   ’643 application,
                                                •   ’553 application,              response, amended
                                                    terminal disclaimer            claim 1, original
                                                    (Apr. 6, 2017)                 claims 2, 5 (Sept. 28,
                                                •   ’553 application, notice       2016)
                                                    of allowance (Apr. 21,     •   ’643 application,
                                                    2017)                          notice of allowance
                                                                                   (Oct. 13, 2016)
                                                U.S. Patent Application
                                                No. 14/699,567 File            U.S. Patent Application
                                                History                        No. 15/289,553 File
                                                • ’567 application,            History generally,
                                                   original claims 1, 2, 10,   including but not
                                                   11                          limited to:
                                                • ’567 application,            • ’553 application,
                                                   response, amended               original claims 1-7
                                                   claims 1, 2, 4, 8-12        • ’553 application,
                                                   (Sept. 9, 2016).                office action (Dec.
                                                • ’567 application,                19, 2016)
                                                   response, 6-8 (Sept. 9,     • ’553 application,
                                                   2016)                           response, amended
                                                • ’567 application,                claim 1, original
                                                   response, amended               claims 3-4 (Mar. 17,
                                                   claims 1, 2, 4, 8-12            2017)
                                                   (Feb. 21, 2017).            • ’553 application,
                                                • ’567 application,                terminal disclaimer
                                                   response, 7-9 (Feb. 21,         (Apr. 6, 2017)
                                                   2017)


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                                                •   ’567 application,          •   ’553 application,
                                                    response, amended              notice of allowance
                                                    claims 1, 2, 4, 8-12           (Apr. 21, 2017)
                                                    (Apr. 20, 2017).
                                                •   ’567 application,          U.S. Patent Application
                                                    response, 6-9 (Feb. 21,    No. 14/699,567 File
                                                    2017)                      History generally,
                                                •   ’567 application,          including but not
                                                    response, amended          limited to:
                                                    claims 1, 2, 4, 8-12       • ’567 application,
                                                    (Aug. 22, 2017).               original claims 1, 2,
                                                •   ’567 application,              10, 11
                                                    response, 5-9 (Aug. 22,    • ’567 application,
                                                    2017)                          response, amended
                                                •   ’567 application,              claims 1, 2, 4, 8-12
                                                    response, amended              (Sept. 9, 2016).
                                                    claims 1, 2, 4, 8-12       • ’567 application,
                                                    (Mar. 13, 2018).               response, 6-8 (Sept.
                                                •   ’567 application,              9, 2016)
                                                    response, 5-7 (Mar. 13,    • ’567 application,
                                                    2018)                          response, amended
                                                •   ’567 application, notice       claims 1, 2, 4, 8-12
                                                    of allowability, 2-3           (Feb.21, 2017).
                                                    (May 31, 2018).            • ’567 application,
                                                                                   response, 7-9 (Feb.
                                                Additional Evidence                21, 2017)
                                                Identified Pursuant to L.      • ’567 application,
                                                Pat. R. 4.2(c) Intrinsic           response, amended
                                                Evidence                           claims 1, 2, 4, 8-12
                                                • Evidence cited or relied         (Apr. 20, 2017).
                                                   upon by Defendants,         • ’567 application,
                                                   including the materials         response, 6-9 (Feb.
                                                   cited in Defendants’            21, 2017)


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                                                   May 21, 2021 and June     •   ’567 application,
                                                   4, 2021 identifications       response, amended
                                                   of constructions and          claims 1, 2, 4, 8-12
                                                   evidence pursuant to L.       (Aug. 22, 2017).
                                                   Pat. R. 4.2(a)-(c).       •   ’567 application,
                                                                                 response, 5-9 (Aug.
                                                Extrinsic Evidence               22, 2017)
                                                • Evidence cited or relied   •   ’567 application,
                                                   upon by Defendants,           response, amended
                                                   including the materials       claims 1, 2, 4, 8-12
                                                   cited in Defendants’          (Mar. 13, 2018).
                                                   May 21, 2021 and June     •   ’567 application,
                                                   4, 2021 identifications       response, 5-7 (Mar.
                                                   of constructions and          13, 2018)
                                                   evidence pursuant to L.   •   ’567 application,
                                                   Pat. R. 4.2(a)-(c).           notice of allowability,
                                                • Cipla’s and                    2-3 (May 31, 2018).
                                                   Aurobindo’s Non-
                                                   Infringement              •   New Oxford
                                                   Contentions, including        American Dictionary,
                                                   exhibits and materials        3rd Edition,
                                                   cited.                        Stevenson and
                                                • Cipla’s and                    Lindeberg, Oxford
                                                   Aurobindo’s Invalidity        University Press,
                                                   Contentions, including        Inc., 2010 (“in”) at
                                                   exhibits and materials        875-76
                                                   cited.                    •   New Oxford
                                                • Cipla’s and                    American Dictionary,
                                                   Aurobindo’s Notice            3rd Edition,
                                                   Letters.                      Stevenson and
                                                • Cipla’s and                    Lindeberg, Oxford
                                                   Aurobindo’s                   University Press,
                                                   Interrogatory


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                                                             PageID: 3279



                                                                                   Responses, including           Inc., 2010 (“formed”)
                                                                                   Cipla’s and                    at 680-81.
                                                                                   Aurobindo’s Responses       • Plaintiffs’ Responses
                                                                                   to Interrogatory Nos. 1-       to Invalidity
                                                                                   5.                             Contentions.
                                                                               •   Expert opinions and/or      • Plaintiffs’ Disclosure
                                                                                   testimony regarding            of Asserted Claims
                                                                                   how a person of                and Infringement
                                                                                   ordinary skill in the art      Contentions.
                                                                                   would understand the        • Expert opinions
                                                                                   meaning of this term           and/or testimony
                                                                                   based on the disclosures       from Gregor
                                                                                   in the patent                  Anderson regarding
                                                                                   specification, other           how a person of
                                                                                   intrinsic evidence, and        ordinary skill in the
                                                                                   the parties’ extrinsic         art would understand
                                                                                   evidence.                      the meaning of this
                                                                                                                  term in view of the
                                                                                                                  specification,
                                                                                                                  prosecution history,
                                                                                                                  intrinsic record, and
                                                                                                                  the parties’ extrinsic
                                                                                                                  evidence.
16   “aperture”             Plain and ordinary           “hole”                U.S. Patent Nos. 9,463,289      Patents-in-Suit
     ’289 Patent, claim 3   meaning in view of the                             • ’289 patent, claims 3, 9      generally, including but
     ’587 Patent, claims    claims, specification, and                         • ’289 patent, 6:24-33          not limited to:
     3, 13, 20-22           prosecution history.                               • ’289 patent, 6:34-67          • ’289 patent, claims 3,
                                                                               • ’289 patent, 7:1-25              9
                            “an opening or open                                • ’289 patent, 9:22-34          • ’289 patent, 6:24-33
                            space: hole”                                       • ’289 patent, 11:4-12:8        • ’289 patent, 6:34-67
                                                                               • ’289 patent, 12:13-13:2       • ’289 patent, 7:1-25
                                                                               • ’289 patent, 13:10-22         • ’289 patent, 9:22-34
                                                                               • ’289 patent, 13:40-52


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                                                •   ’289 patent, 14:40-47     •   ’289 patent, 11:4-
                                                •   ’289 patent, 15:33-53         12:8
                                                •   ’289 patent, 16:6-13      •   ’289 patent, 12:13-
                                                •   ’289 patent, Figs. 3A-        13:2
                                                    3B, 4A, 6A-6H, 7A-7D,     •   ’289 patent, 13:10-22
                                                •   8A-8D, 10A-10E            •   ’289 patent, 13:40-52
                                                                              •   ’289 patent, 14:40-47
                                                U.S. Patent No. 9,808,587     •   ’289 patent, 15:33-53
                                                • ’587 patent, claims 3, 9,   •   ’289 patent, 16:6-13
                                                   13, 20, 21, 22             •   ’289 patent, Figs. 3A-
                                                • ’587 patent, Abstract           3B, 4A, 6A-6H, 7A-
                                                • ’587 patent, 6:28-37            7D, 8A-8D, 10A-10E
                                                • ’587 patent, 6:38-7:4       •   ’587 patent, claims 3,
                                                • ’587 patent, 7:5-29             9, 13, 20, 21, 22
                                                • ’587 patent, 9:25-37        •   ’587 patent, Abstract
                                                • ’587 patent, 12:15-13:4     •   ’587 patent, 6:28-37
                                                • ’587 patent, 13:12-24       •   ’587 patent, 6:38-7:4
                                                • ’587 patent, 13:41-54       •   ’587 patent, 7:5-29
                                                • ’587 patent, 14:42-49       •   ’587 patent, 9:25-37
                                                • ’587 patent, 15:34-54       •   ’587 patent, 12:15-
                                                • ’587 patent, 16:7-14            13:4
                                                • ’587 patent, Figs. 3A-      •   ’587 patent, 13:12-24
                                                   3B, 4A, 6A-6H, 7A-7D,      •   ’587 patent, 13:41-54
                                                   8A-8D, 10A-10E             •   ’587 patent, 14:42-49
                                                                              •   ’587 patent, 15:34-54
                                                U.S. Application No.          •   ’587 patent, 16:7-14
                                                13/110,532                    •   ’587 patent, Figs. 3A-
                                                • ’532 application,               3B, 4A, 6A-6H, 7A-
                                                   original claims (May           7D, 8A-8D, 10A-10E
                                                   18, 2011)                  •   ’512 patent, claims 1,
                                                • ’532 application, office        6
                                                   action (June 28, 2013)


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                                                •   ’532 application,         •   ’512 patent, 7:65-
                                                    amendment and                 8:30
                                                    response (Sept. 26,       •   ’512 patent, 16:55-
                                                    2013)                         17:4
                                                                              •   ’512 patent, 11:4-
                                                U.S. Application No.              12:10
                                                14/103,324                    •   ’512 patent, Figs. 1-
                                                • ’324 application,               26
                                                   original claims (Dec.
                                                   11, 2013)                  U.S. Application No.
                                                • ’324 application, office    13/110,532 generally,
                                                   action (Aug. 10, 2015)     including but not
                                                • ’324 application,           limited to:
                                                   amendment and              • ’532 application,
                                                   response (November 4,          Original claims (May
                                                   2015)                          18, 2011)
                                                • ’324 application, final     • ’532 application,
                                                   rejection (Dec. 7, 2015)       office action (June
                                                • ’324 application,               28, 2013)
                                                   amendment and              • ’532 application,
                                                   response, 1-7 (Mar. 7,         amendment and
                                                   2016)                          response (September
                                                • ’324 application, notice        26, 2013)
                                                   of allowance/
                                                   allowability, 2-3 (May     U.S. Application No.
                                                   20, 2016                   14/103,324 generally,
                                                                              including but not
                                                Extrinsic Evidence            limited to:
                                                • The American Heritage       • ’324 application,
                                                   Dictionary of the              original claims
                                                   English Language 82            (December 11, 2013)
                                                   (5th ed. 2018)



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                                                •   Webster’s II, New          •   ’324 application,
                                                    College Dictionary 52          office action (August
                                                    (1985)                         10, 2015)
                                                •   Merriam-Webster’s          •   ’324 application,
                                                    Collegiate Dictionary          amendment and
                                                    57 (11th ed. 2003)             response (November
                                                •   New Oxford American            4, 2015)
                                                    Dictionary 72 (3rd ed.     •   ’324 application,
                                                    2010)                          final rejection
                                                •   Webster’s Third New            (December 7, 2015)
                                                    International Dictionary   •   ’324 application,
                                                    of the English Language        amendment and
                                                    Unabridged 99 (2002)           response, 1-7 (March
                                                •   See also evidence for          7, 2016)
                                                    “aperture” for ’512        •   ’324 application,
                                                    patent.                        notice of allowance/
                                                                                   allowability, 2-3
                                                Additional Evidence                (May 20, 2016)
                                                Identified Pursuant to L.
                                                Pat. R. 4.2(c)                 U.S. Patent Application
                                                Intrinsic Evidence             No. 15/804,735 File
                                                • Evidence cited or relied     History
                                                    upon by Defendants,        • ’735 application,
                                                    including the materials       preliminary
                                                    cited in Defendants’          amendment, claims
                                                    May 21, 2021 and June         23, 28 (Nov. 8, 2017)
                                                    4, 2021 identifications    • ’735 application,
                                                    of constructions and          office action (Nov. 4,
                                                    evidence pursuant to L.       2019)
                                                    Pat. R. 4.2(a)-(c).        • ’735 application,
                                                                                  response, terminal
                                                Extrinsic Evidence                disclaimer (Jan. 31,
                                                                                  2020)


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                                                •   Evidence cited or relied   •   ’735 application,
                                                    upon by Defendants,            notice of allowance
                                                    including the materials        (Feb. 24, 2020)
                                                    cited in Defendants’
                                                    May 21, 2021 and June      U.S. Patent Application
                                                    4, 2021 identifications    No. 14/713,643 File
                                                    of constructions and       History generally,
                                                    evidence pursuant to L.    including but not
                                                    Pat. R. 4.2(a)-(c).        limited to:
                                                •   Cipla’s and                • ’643 application,
                                                    Aurobindo’s Non-               original claims 3-4
                                                    Infringement               • ’643 application,
                                                    Contentions, including         office action (July 12,
                                                    exhibits and materials         2016)
                                                    cited.                     • ’643 application,
                                                •   Cipla’s and                    response, amended
                                                    Aurobindo’s Invalidity         claim 1 (Sept. 28,
                                                    Contentions, including         2016)
                                                    exhibits and materials     • ’643 application,
                                                    cited.                         notice of allowance
                                                •   Cipla’s and                    (Oct. 13, 2016)
                                                    Aurobindo’s Notice
                                                    Letters.                   U.S. Patent Application
                                                •   Cipla’s and                No. 15/289,553 File
                                                    Aurobindo’s                History generally,
                                                    Interrogatory              including but not
                                                    Responses, including       limited to:
                                                    Cipla’s and                • ’553 application,
                                                    Aurobindo’s Responses          original claims 2, 5-7
                                                    to Interrogatory Nos. 1-   • ’553 application,
                                                    5.                             office action (Dec.
                                                •   Expert opinions and/or         19, 2016)
                                                    testimony regarding


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                                                    how a person of             •   ’553 application,
                                                    ordinary skill in the art       response, amended
                                                    would understand the            claim 1 (Mar. 17,
                                                    meaning of this term            2017)
                                                    based on the disclosures    •   ’553 application,
                                                    in the patent                   response, terminal
                                                    specification, other            disclaimer (Apr. 6,
                                                    intrinsic evidence, and         2017)
                                                    the parties’ extrinsic      •   ’553 application,
                                                    evidence.                       notice of allowance
                                                •   See also rebuttal               (Apr. 21, 2017)
                                                    evidence for “aperture”
                                                    for ’512 patent.            •   Plaintiffs’ Responses
                                                                                    to Invalidity
                                                                                    Contentions.
                                                                                •   Plaintiffs’ Disclosure
                                                                                    of Asserted Claims
                                                                                    and Infringement
                                                                                    Contentions.
                                                                                •   The American
                                                                                    Heritage Dictionary
                                                                                    of the English
                                                                                    Language 82 (5th ed.
                                                                                    2018)
                                                                                •   Webster’s II, New
                                                                                    College Dictionary
                                                                                    52 (1985)
                                                                                •   Merriam-Webster’s
                                                                                    Collegiate Dictionary
                                                                                    57 (11th ed. 2003)
                                                                                •   New Oxford
                                                                                    American Dictionary
                                                                                    72 (3rd ed. 2010)


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                                                                          •    Webster’s Third New
                                                                               International
                                                                               Dictionary of the
                                                                               English Language
                                                                               Unabridged 99
                                                                               (2002)
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                                                                               Information and
                                                                               Technology
                                                                               Equipment, Am.
                                                                               Plastics Council
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                                                                               Fastening, Handbook
                                                                               of Plastics Joining ch.
                                                                               18 (Michael J.
                                                                               Troughton ed. 2008)
                                                                          •    Edward A. Muccio,
                                                                               Plastic Part
                                                                               Technology 266
                                                                               (1991)
                                                                          •    Gary Sullivan &
                                                                               Lance Crawford, The
                                                                               Heat Stake
                                                                               Advantage, Plastic
                                                                               Decorating Mag.
                                                                               (2003)
                                                                          •    Expert opinions
                                                                               and/or testimony
                                                                               from Gregor
                                                                               Anderson regarding
                                                                               how a person of


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                     Case 2:20-cv-10172-JXN-MAH        Document 102-1       Filed 07/06/21    Page 83 of 98
                                                        PageID: 3286



                                                                                                              ordinary skill in the
                                                                                                              art would understand
                                                                                                              the meaning of this
                                                                                                              term in view of the
                                                                                                              specification,
                                                                                                              prosecution history,
                                                                                                              intrinsic record, and
                                                                                                              the parties’ extrinsic
                                                                                                              evidence.
17   “dose counter        Plain and ordinary         “space or cavity defined   U.S. Patent No. 10,695,512 Patents-in-Suit
     chamber”             meaning in view of the     by the main surface of     • ’512 patent, claim 2     generally, including but
                          claims, specification, and the inner walls and the    • ’512 patent, claim 3     not limited to:
     ’512 Patent, claim   prosecution history.       inner wall through which • ’512 patent, 4:39-50       • ’289 patent, 12:38-53
     2, 3                                            a portion of the actuation • ’512 patent, 6:28-37     • ’289 patent, Figs. 7B-
                          “a chamber of the inhaler member extends in which • ’512 patent, 7:24-29            7D
                          in which the dose counter the dose counter is         • ’512 patent, 8:31-40     • ’156 patent, claims 1,
                          is located”                located”                                                 11, 12
                                                                                • ’512 patent, 8:41-43
                                                                                • ’512 patent, 8:44-50     • ’156 patent, 4:24-45
                                                                                • ’512 patent, 11:4-12:10 • ’156 patent, 6:24-33
                                                                                • ’512 patent, 12:40-55    • ’156 patent 7:20-25
                                                                                • ’512 patent, 13:12-24    • ’156 patent 8:28-37
                                                                                • ’512 patent, 13:42-54    • ’156 patent, 8:38-40
                                                                                • ’512 patent, 16:10-14    • ’156 patent, 8:41-47
                                                                                • ’512 patent, 16:15-28    • ’156 patent, 11:4-
                                                                                • ’512 patent, 16:55-74       12:10
                                                                                • ’512 patent, 17:12-23    • ’156 patent, 12:40-55
                                                                                • ’512 patent, Figs. 1-26  • ’156 patent, 13:12-24
                                                                                                           • ’156 patent, 13:42-54
                                                                                U.S. Patent Application    • ’156 patent, 16:10-14
                                                                                No. 14/699,567 File        • ’156 patent, 16:15-28
                                                                                History                    • ’156 patent, 16:55-
                                                                                                              17:4


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                              PageID: 3287



                                                •   ’567 application,           •   ’156 patent, 17:12-23
                                                    original claims 1, 10, 11   •   ’156 patent, Figs. 4A-
                                                •   ’567 application, office        6H, 10A-10
                                                    action 5-6 (June 17,        •   ’512 patent, claim 2
                                                    2016)                       •   ’512 patent, claim 3
                                                •   ’567 application,           •   ’512 patent, 4:39-50
                                                    amended claims 1, 10,       •   ’512 patent, 6:28-37
                                                    11 (Sept. 9, 2016)          •   ’512 patent, 7:24-29
                                                •   ’567 application, office    •   ’512 patent, 8:31-40
                                                    action 6 (Oct. 20, 2016)    •   ’512 patent, 8:41-43
                                                •   ’567 application,           •   ’512 patent, 8:44-50
                                                    amended claims 1, 10,       •   ’512 patent, 11:4-
                                                    11 (Feb. 21, 2017)              12:10
                                                •   ’567 application,           •   ’512 patent, 12:40-55
                                                    amended claims 1, 10,       •   ’512 patent, 13:12-24
                                                    11 (Apr. 20, 2017)
                                                                                •   ’512 patent, 13:42-54
                                                •   ’567 application, office
                                                                                •   ’512 patent, 16:10-14
                                                    action 8 (May 22, 2017)
                                                                                •   ’512 patent, 16:15-28
                                                •   ’567 application,
                                                                                •   ’512 patent, 16:55-74
                                                    amended claims 1, 10,
                                                    11 (Aug. 22, 2017)          •   ’512 patent, 17:12-23
                                                •   ’567 application, office    •   ’512 patent, Figs. 1-
                                                    action 10 (Sept. 13,            26
                                                    2017)
                                                •   ’567 application,           U.S. Patent Application
                                                    amended claims 1, 10,       No. 14/699,567
                                                    11 (Mar. 13, 2018)          generally, including but
                                                                                not limited to:
                                                •   U.S. Patent
                                                    Application No.             • ’567 application,
                                                    14/713,643 File                original claims 1, 10,
                                                    History                        11
                                                •   ’643 application,
                                                    original claims 1, 5, 6


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                                                •   ’643 application, office   •   ’567 application,
                                                    action (July 12, 2016)         office action 5-6
                                                •   ’643 application,              (June 17, 2016)
                                                    response, original         •   ’567 application,
                                                    claims 5, 6 (Sept. 28,         amended claims 1,
                                                    2016)                          10, 11 (Sept. 9, 2016)
                                                •   ’643 application, notice   •   ’567 application,
                                                    of allowance (Oct. 13,         office action 6 (Oct.
                                                    2016)                          20, 2016)
                                                                               •   ’567 application,
                                                U.S. Patent Application            amended claims 1,
                                                No. 15/289,553 File                10, 11 (Feb. 21,
                                                History                            2017)
                                                • ’553 application,            •   ’567 application,
                                                   original claims 1, 3, 4         amended claims 1,
                                                • ’553 application, office         10, 11 (Apr. 20,
                                                   action (Dec. 19, 2016)          2017)
                                                • ’553 application,            •   ’567 application,
                                                   response, original              office action 8 (May
                                                   claims 1, 3, 4 (Mar. 17,        22, 2017)
                                                   2017)                       •   ’567 application,
                                                • ’553 application,                amended claims 1,
                                                   terminal disclaimer             10, 11 (Aug. 22,
                                                   (Apr. 6, 2017)                  2017)
                                                • ’553 application, notice     •   ’567 application,
                                                   of allowance (Apr. 21,          office action 10
                                                   2017)                           (Sept. 13, 2017)
                                                U.S. Patent Application        •   ’567 application,
                                                No. 15/804,735 File                amended claims 1,
                                                History                            10, 11 (Mar. 13,
                                                • ’735 application,                2018)
                                                   preliminary amendment,



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                              PageID: 3289



                                                    claims 24 and 25 (Nov.      U.S. Patent Application
                                                    8, 2017)                    No. 14/713,643 File
                                                •   ’735 application, office    History generally,
                                                    action (Nov. 4, 2019)       including but not
                                                •   ’735 application,           limited to:
                                                    response, terminal          • ’643 application,
                                                    disclaimer (Jan. 31,            original claims 1, 5, 6
                                                    2020)                       • ’643 application,
                                                •   ’735 application, notice        office action (July 12,
                                                    of allowance (Feb. 24,          2016)
                                                    2020)                       • ’643 application,
                                                •   See also evidence for           response, original
                                                    “separate counter               claims 5, 6 (Sept. 28,
                                                    chamber” for ’156               2016)
                                                    patent.                     • ’643 application,
                                                                                    notice of allowance
                                                Additional Evidence                 (Oct. 13, 2016)
                                                Identified Pursuant to L.
                                                Pat. R. 4.2(c)                  U.S. Patent Application
                                                Intrinsic Evidence              No. 15/289,553 File
                                                • Evidence cited or relied      History generally,
                                                    upon by Defendants,         including but not
                                                    including the materials     limited to:
                                                    cited in Defendants’        • ’553 application,
                                                    May 21, 2021 and June           original claims 1, 3, 4
                                                    4, 2021 identification of   • ’553 application,
                                                    constructions and               office action (Dec.
                                                    evidence pursuant to L.         19, 2016)
                                                    Pat. R. 4.2(a)-(c).         • ’553 application,
                                                                                    response, original
                                                Extrinsic Evidence                  claims 1, 3, 4 (Mar.
                                                • Evidence cited or relied          17, 2017)
                                                   upon by Defendants,


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                                                    including the materials     •   ’553 application,
                                                    cited in Defendants’            terminal disclaimer
                                                    May 21, 2021 and June           (Apr. 6, 2017)
                                                    4, 2021 identifications     •   ’553 application,
                                                    of constructions and            notice of allowance
                                                    evidence pursuant to L.         (Apr. 21, 2017)
                                                    Pat. R. 4.2(a)-(c).
                                                •   Cipla’s and                 U.S. Patent Application
                                                    Aurobindo’s Non-            No. 15/804,735 File
                                                    Infringement                History generally,
                                                    Contentions, including      including but not
                                                    exhibits and materials      limited to:
                                                    cited.                      • ’735 application,
                                                •   Cipla’s and                     preliminary
                                                    Aurobindo’s Invalidity          amendment, claims
                                                    Contentions, including          24 and 25 (Nov. 8,
                                                    exhibits and materials          2017)
                                                    cited.                      • ’735 application,
                                                •   Cipla’s and                     office action (Nov. 4,
                                                    Aurobindo’s Notice              2019)
                                                    Letters.                    • ’735 application,
                                                •   Cipla’s and                     response, terminal
                                                    Aurobindo’s                     disclaimer (Jan. 31,
                                                    Interrogatory               • 2020)
                                                    Responses, including        • ’735 application,
                                                    Cipla’s and                     notice of allowance
                                                    Aurobindo’s Responses           (Feb. 24, 2020)
                                                    to Interrogatory Nos. 1-
                                                    5.                          •   New Oxford
                                                •   Expert opinions and/or          American Dictionary,
                                                    testimony regarding             3rd Edition,
                                                    how a person of                 Stevenson and
                                                    ordinary skill in the art


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                                                           PageID: 3291



                                                                                         would understand the       •   Lindeberg, Oxford
                                                                                         meaning of this term           University Press,
                                                                                         based on the disclosures       Inc., 2010
                                                                                         in the patent                  (“chamber”) at 287.
                                                                                         specification, other
                                                                                         intrinsic evidence, and    •   Plaintiffs’ Responses
                                                                                         the parties’ extrinsic         to Invalidity
                                                                                         evidence.                      Contentions.
                                                                                                                    •   Plaintiffs’ Disclosure
                                                                                                                        of Asserted Claims
                                                                                                                        and Infringement
                                                                                                                        Contentions.
                                                                                                                    •   Expert opinions
                                                                                                                        and/or testimony
                                                                                                                        from Gregor
                                                                                                                        Anderson regarding
                                                                                                                        how a person of
                                                                                                                        ordinary skill in the
                                                                                                                        art would understand
                                                                                                                        the meaning of this
                                                                                                                        term in view of the
                                                                                                                        specification,
                                                                                                                        prosecution history,
                                                                                                                        intrinsic record, and
                                                                                                                        the parties’ extrinsic
                                                                                                                        evidence.

18   “separate counter    Plain and ordinary           “discrete space or cavity      U.S. Patent No. 10,086,156    Patents-in-Suit
     chamber”             meaning in view of the       defined by the main            • ’156 patent, claims 1,      generally, including but
                          claims, specification, and   surface of the inner walls        11, 12                     not limited to:
     ’156 Patent, claim   prosecution history.         and the inner wall             • ’156 patent, 4:24-45        • ’289 patent, 12:38-53
     12                                                through which a portion        • ’156 patent, 6:24-33        • ’289 patent, Figs. 7B-
                                                       of the actuation member        • ’156 patent 7:20-25            7D


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    “a separate chamber of     extends in which the dose •   ’156 patent 8:28-37       •   ’156 patent, claims 1,
    the inhaler in which the   counter is located”       •   ’156 patent, 8:38-40          11, 12
    dose counter is located”                             •   ’156 patent, 8:41-47      •   ’156 patent, 4:24-45
                                                         •   ’156 patent, 11:4-12:10   •   ’156 patent, 6:24-33
                                                         •   ’156 patent, 12:40-55     •   ’156 patent 7:20-25
                                                         •   ’156 patent, 13:12-24     •   ’156 patent 8:28-37
                                                         •   ’156 patent, 13:42-54     •   ’156 patent, 8:38-40
                                                         •   ’156 patent, 16:10-14     •   ’156 patent, 8:41-47
                                                         •   ’156 patent, 16:15-28     •   ’156 patent, 11:4-
                                                         •   ’156 patent, 16:55-17:4       12:10
                                                         •   ’156 patent, 17:12-23     •   ’156 patent, 12:40-55
                                                         •   ’156 patent, Figs. 4A-    •   ’156 patent, 13:12-24
                                                             6H, 10A-10F.              •   ’156 patent, 13:42-54
                                                                                       •   ’156 patent, 16:10-14
                                                        U.S. Patent Application        •   ’156 patent, 16:15-28
                                                        No. 14/699,567                 •   ’156 patent, 16:55-
                                                        • ’567 application,                17:4
                                                           original claims 1, 10, 11   •   ’156 patent, 17:12-23
                                                        • ’567 application, office     •   ’156 patent, Figs. 4A-
                                                           action 5-6 (June 17,            6H, 10A-10
                                                           2016)                       •   ’512 patent, claim 2
                                                        • ’567 application,            •   ’512 patent, claim 3
                                                           amended claims 1, 10,       •   ’512 patent, 4:39-50
                                                           11 (Sept. 9, 2016)          •   ’512 patent, 6:28-37
                                                        • ’567 application, office     •   ’512 patent, 7:24-29
                                                           action 6 (Oct. 20, 2016)    •   ’512 patent, 8:31-40
                                                        • ’567 application,            •   ’512 patent, 8:41-43
                                                           amended claims 1, 10,
                                                                                       •   ’512 patent, 8:44-50
                                                           11 (Feb. 21, 2017)
                                                                                       •   ’512 patent, 11:4-
                                                        • ’567 application,                12:10
                                                           amended claims 1, 10,
                                                                                       •   ’512 patent, 12:40-55
                                                           11 (Apr. 20, 2017)
                                                                                       •   ’512 patent, 13:12-24


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Case 2:20-cv-10172-JXN-MAH   Document 102-1   Filed 07/06/21    Page 90 of 98
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                                                •   ’567 application, office   •   ’512 patent, 13:42-54
                                                    action 8 (May 22, 2017)    •   ’512 patent, 16:10-14
                                                •   ’567 application,          •   ’512 patent, 16:15-28
                                                    amended claims 1, 10,      •   ’512 patent, 16:55-74
                                                    11 (Aug. 22, 2017)         •   ’512 patent, 17:12-23
                                                •   ’567 application, office   •   ’512 patent, Figs. 1-
                                                    action 10 (Sept. 13,           26
                                                    2017)
                                                •   ’567 application,          U.S. Patent Application
                                                    amended claims 1, 10,      No. 14/699,567
                                                    11 (Mar. 13, 2018)         generally, including but
                                                                               not limited to:
                                                •   See also evidence for      • ’567 application,
                                                    “dose counter chamber”        original claims 1, 10,
                                                    for ’512 patent.              11
                                                                               • ’567 application,
                                                Additional Evidence               office action 5-6
                                                Identified Pursuant to L.         (June 17, 2016)
                                                Pat. R. 4.2(c)                 • ’567 application,
                                                                                  amended claims 1,
                                                Intrinsic Evidence                10, 11 (Sept. 9, 2016)
                                                • Evidence cited or relied     • ’567 application,
                                                    upon by Defendants,           office action 6 (Oct.
                                                    including the materials       20, 2016)
                                                    cited in Defendants’       • ’567 application,
                                                • May 21, 2021 and June           amended claims 1,
                                                    4, 2021 identifications       10, 11 (Feb. 21,
                                                    of constructions and          2017)
                                                    evidence pursuant to L.    • ’567 application,
                                                    Pat. R. 4.2(a)-(c).           amended claims 1,
                                                                                  10, 11 (Apr. 20,
                                                Extrinsic Evidence                2017)



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                                                •   Evidence cited or relied   •   ’567 application,
                                                    upon by Defendants,            office action 8 (May
                                                    including the materials        22, 2017)
                                                    cited in Defendants’       •   ’567 application,
                                                    May 21, 2021 and June          amended claims 1,
                                                    4, 2021 identifications        10, 11 (Aug. 22,
                                                    of constructions and           2017)
                                                    evidence pursuant to L.    •   ’567 application,
                                                    Pat. R. 4.2(a)-(c).            office action 10
                                                •   Cipla’s and                    (Sept. 13, 2017)
                                                    Aurobindo’s Non-           •   ’567 application,
                                                    Infringement                   amended claims 1,
                                                    Contentions, including         10, 11 (Mar. 13,
                                                    exhibits and materials         2018)
                                                    cited.
                                                •   Cipla’s and                U.S. Patent Application
                                                    Aurobindo’s Invalidity     No. 14/713,643 File
                                                    Contentions, including     History generally,
                                                    exhibits and materials     including but not
                                                    cited.                     limited to:
                                                •   Cipla’s and                • ’643 application,
                                                    Aurobindo’s Notice             original claims 1, 5, 6
                                                    Letters.                   • ’643 application,
                                                •   Cipla’s and                    office action (July 12,
                                                    Aurobindo’s                    2016)
                                                    Interrogatory              • ’643 application,
                                                    Responses, including           response, original
                                                    Cipla’s and                    claims 5, 6 (Sept. 28,
                                                    Aurobindo’s Responses          2016)
                                                    to Interrogatory Nos. 1-   • ’643 application,
                                                    5.                             notice of allowance
                                                •   Expert opinions and/or         (Oct. 13, 2016)
                                                    testimony regarding


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                                                    how a person of
                                                    ordinary skill in the art   U.S. Patent Application
                                                    would understand the        No. 15/289,553 File
                                                    meaning of this term        History generally,
                                                    based on the disclosures    including but not
                                                    in the patent               limited to:
                                                    specification, other        • ’553 application,
                                                    intrinsic evidence, and         original claims 1, 3, 4
                                                    the parties’ extrinsic      • ’553 application,
                                                    evidence.                       office action (Dec.
                                                •   American Heritage               19, 2016)
                                                    Dictionary of the           • ’553 application,
                                                    English Language 1597-          response, original
                                                    98 (5th ed. 2018)               claims 1, 3, 4 (Mar.
                                                •   Webster’s Third New             17, 2017)
                                                    International Dictionary    • ’553 application,
                                                    2069 (2002)                     terminal disclaimer
                                                •   See also rebuttal               (Apr. 6, 2017)
                                                    evidence for “dose          • ’553 application,
                                                    counter chamber” for            notice of allowance
                                                    ’512 patent.                    (Apr. 21, 2017)

                                                                                U.S. Patent Application
                                                                                No. 15/804,735 File
                                                                                History generally,
                                                                                including but not
                                                                                limited to:
                                                                                • ’735 application,
                                                                                    preliminary
                                                                                    amendment, claims
                                                                                    24 and 25 (Nov. 8,
                                                                                    2017)



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                                                                          •    ’735 application,
                                                                               office action (Nov. 4,
                                                                               2019)
                                                                          •    ’735 application,
                                                                               response, terminal
                                                                               disclaimer (Jan. 31,
                                                                               2020)
                                                                          •    ’735 application,
                                                                               notice of allowance
                                                                               (Feb. 24, 2020)

                                                                          •    New Oxford
                                                                               American Dictionary,
                                                                               3rd Edition,
                                                                               Stevenson and
                                                                               Lindeberg, Oxford
                                                                               University Press,
                                                                               Inc., 2010
                                                                               (“chamber”) at 287.
                                                                          •    Plaintiffs’ Responses
                                                                               to Invalidity
                                                                               Contentions.
                                                                          •    Plaintiffs’ Disclosure
                                                                               of Asserted Claims
                                                                               and Infringement
                                                                               Contentions.
                                                                          •    Expert opinions
                                                                               and/or testimony
                                                                               from Gregor
                                                                               Anderson regarding
                                                                               how a person of
                                                                               ordinary skill in the
                                                                               art would understand


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                                                            PageID: 3297



                                                                                                                   the meaning of this
                                                                                                                   term in view of the
                                                                                                                   specification,
                                                                                                                   prosecution history,
                                                                                                                   intrinsic record, and
                                                                                                                   the parties’ extrinsic
                                                                                                                   evidence.
19   “count pawl”          Plain and ordinary           “a pawl that is part of the U.S. Patent No. 10,086,156 Patents-in-Suit
                           meaning in view of the       dose counter, separate      • ’156 patent, claims 1, 9, generally, including but
     ’156 Patent, claims   claims, specification, and   from an actuator pawl,         10                       not limited to:
     1, 9                  prosecution history.         that is arranged to engage • ’156 patent, 3:57-60       • ’289 patent, 13:40-
                                                        with a second tooth         • ’156 patent, 3:61-64         15:32
                           “a pawl that is a            different from the first    • ’156 patent, 5:66-6:6     •  ’289 patent, 14:60-
                           component of the dose        tooth of the ratchet        • ’156 patent, 6:7-19          15:3
                           counter that is capable of   wheel”                      • ’156 patent, 11:4-12:10   •  ’289 patent, Figs. 6D,
                           engaging with a second                                   • ’156 patent, 13:42-54        6G
                           tooth of the rachet                                                                  • ’289 patent, Figs.
                                                                                    • ’156 patent, 13:55-
                           wheel”                                                                                  10A-10F
                                                                                       14:10
                                                                                    • ’156 patent, 14:11-15     • ’156 patent, claims 1,
                                                                                    • ’156 patent, 14:16-26        9, 10
                                                                                    • ’156 patent, 14:50-61     • ’156 patent, 3:57-60
                                                                                    • ’156 patent, 14:62-       • ’156 patent, 3:61-64
                                                                                       15:14                    • ’156 patent, 5:66-6:6
                                                                                    • ’156 patent, 15:15-33     • ’156 patent, 6:7-19
                                                                                    • ’156 patent, Figs. 6A-    • ’156 patent, 11:4-
                                                                                       11, 14-20                   12:10
                                                                                    U.S. Patent Application     • ’156 patent, 13:42-54
                                                                                    No. 14/699,567 File         • ’156 patent, 13:55-
                                                                                    History                        14:10
                                                                                    • ’567 application,         •  ’156 patent, 14:11-15
                                                                                       amended claim 1 (Sept. • ’156 patent, 14:16-26
                                                                                       9, 2016)                 • ’156 patent, 14:50-61



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                                                •   ’567 application,          •   ’156 patent, 14:62-
                                                    response 6-8 (Sept. 9,         15:14
                                                    2016)                      •   ’156 patent, 15:15-33
                                                •   ’567 application, office   •   ’156 patent, Figs. 6A-
                                                    action 2-12 (Oct. 20,          11, 14-20
                                                    2016)
                                                •   ’567 application,          U.S. Patent Application
                                                    amended claim 1 (Feb.      No. 14/699,567 File
                                                    21, 2017)                  History generally,
                                                •   ’567 application,          including but not
                                                    response 7-9 (Feb. 21,     limited to:
                                                    2017)                      • ’567 application,
                                                •   ’567 application,              amended claim 1
                                                    amended claim 1 (Apr.          (Sept. 9, 2016)
                                                    20, 2017)                  • ’567 application,
                                                •   ’567 application,              response 6-8 (Sept. 9,
                                                    response 6-9 (Apr. 20,         2016)
                                                    2017)                      • ’567 application,
                                                •   ’567 application, office       office action 2-12
                                                    action 2-13 (May 22,           (Oct. 20, 2016)
                                                    2017)                      • ’567 application,
                                                •   ’567 application,              amended claim 1
                                                    amended claim 1 (Aug.          (Feb. 21, 2017)
                                                    22, 2017)                  • ’567 application,
                                                •   ’567 application,              response 7-9 (Feb.
                                                    response 5-9 (Aug. 22,         21, 2017)
                                                    2017)                      • ’567 application,
                                                •   ’567 application, office       amended claim 1
                                                    action 2-15 (Sept. 13,         (Apr. 20, 2017)
                                                    2017)                      • ’567 application,
                                                •   ’567 application,              response 6-9 (Apr.
                                                    amended claim 1 (Mar.          20, 2017)
                                                    13, 2013)


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                                                •   ’567 application,          •   ’567 application,
                                                    response 6-7 (Mar. 13,         office action 2-13
                                                    2013)                          (May 22, 2017)
                                                •   ’567 application, notice   •   ’567 application,
                                                    of allowability 2-3            amended claim 1
                                                    (May 31, 2013)                 (Aug. 22, 2017)
                                                                               •   ’567 application,
                                                Additional Evidence                response 5-9 (Aug.
                                                Identified Pursuant to L.          22, 2017)
                                                Pat. R. 4.2(c)                 •   ’567 application,
                                                                                   office action 2-15
                                                Intrinsic Evidence                 (Sept. 13, 2017)
                                                • Evidence cited or relied     •   ’567 application,
                                                    upon by Defendants,            amended claim 1
                                                    including the materials        (Mar. 13, 2013)
                                                    cited in Defendants’       •   ’567 application,
                                                    May 21, 2021 and June          response 6-7 (Mar.
                                                    4, 2021 identifications        13, 2013)
                                                    of constructions and       •   ’567 application,
                                                    evidence pursuant to L.        notice of allowability
                                                    Pat. R. 4.2(a)-(c).            2-3 (May 31, 2013)

                                                Extrinsic Evidence             •   Plaintiffs’ Responses
                                                • Evidence cited or relied         to Invalidity
                                                   upon by Defendants,             Contentions.
                                                   including the materials     •   Plaintiffs’ Disclosure
                                                   cited in Defendants’            of Asserted Claims
                                                   May 21, 2021 and June           and Infringement
                                                   4, 2021 identifications         Contentions.
                                                   of constructions and        •   Expert opinions
                                                   evidence pursuant to L.         and/or testimony
                                                   Pat. R. 4.2(a)-(c).             from Gregor
                                                                                   Anderson regarding


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                                                •   Cipla’s and                  how a person of
                                                    Aurobindo’s Non-             ordinary skill in the
                                                    Infringement                 art would understand
                                                    Contentions, including       the meaning of this
                                                    exhibits and materials       term in view of the
                                                    cited.                       specification,
                                                •   Cipla’s and                  prosecution history,
                                                    Aurobindo’s Invalidity       intrinsic record, and
                                                    Contentions, including       the parties’ extrinsic
                                                    exhibits and materials       evidence
                                                    cited.
                                                •   Cipla’s and
                                                    Aurobindo’s Notice
                                                    Letters.
                                                •   Cipla’s and
                                                    Aurobindo’s
                                                    Interrogatory
                                                    Responses, including
                                                    Cipla’s and
                                                    Aurobindo’s Responses
                                                    to Interrogatory Nos. 1-
                                                    5.
                                                •   Expert opinions and/or
                                                    testimony regarding
                                                    how a person of
                                                    ordinary skill in the art
                                                    would understand the
                                                    meaning of this term
                                                    based on the disclosures
                                                    in the patent
                                                    specification, other
                                                    intrinsic evidence, and



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                                                   the parties’ extrinsic
                                                   evidence.




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